Case 2:20-cv-13134-LVP-RSW
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                                   Exhibit 4
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  From: Samantha Whitley <cgganalyst2@gmail.com>
  Sent: Wednesday, October 7, 2020 9:11 AM
  To: elections@lowndescounty.com; elections@lumpkincounty.gov; tdean@mcelections.us; Marion
  County Elections & Registrations <marioncountyelect@gmail.com>; Phyllis Wheeler
  <Phyllis.Wheeler3@thomson‐mcduffie.net>; Doll Gale <egale@darientel.net>; Patty Threadgill
  <p.threadgill@meriwethercountyga.gov>; Jerry C <registrars@millercountyga.com>; Terry Ross
  <tross@mitchellcountyga.net>; Kaye Warren <kwarren@monroecoga.org>; rmoxsand@hotmail.com;
  Jennifer Doran <jdoran@morgancountyga.gov>; vote@murraycountyga.gov; Nancy Boren
  <nboren@columbusga.org>; Angela Mantle <amantle@co.newton.ga.us>; Fran Leathers
  <fleathers@oconee.ga.us>; Steve McCannon <smccannon@oglethorpecountyga.gov>; Deidre Holden
  <deidre.holden@paulding.gov>; Adrienne Ray <adrienne‐ray@peachcounty.net>; Julie Roberts
  <jroberts@pickenscountyga.gov>; Leah Williamson <leah.williamson@piercecountyga.gov>; Sandi
  Chamblin <schamblin@pikecoga.com>; Lee Ann George <lgeorge@polkga.org>; quit.judge@gqc‐ga.org;
  twhitmire@rabuncounty.ga.gov; Todd Black <rcc.boe@gmail.com>; Lynn Bailey
  <lbailey@augustaga.gov>; cynthia.welch@rockdalecountyga.gov; Schley Registrars
  <registrars_schley@yahoo.com>
  Subject: Followup ‐ new unsealed documents and response to Harvey bulletin


  Providing the Facts—BMD Security Risks and Software Update



  The events of the last 11 days have made it clearer than ever that county election
  officials have the duty to abandon the county-wide use of BMD touchscreen machines
  and adopt hand marked paper ballots because the BMD units cannot be used securely
  or legally---certainly making their deployment “impossible,” “impractical” or “unusable.”
  [Those are the conditions in the statute and new election rule that call for the
  superintendent’s decision to use hand marked paper ballots.] We offer more facts as
  your board makes this significant decision.



  The 2020 General Election is underway, and last week the Secretary of State ordered
  election officials across the state to erase the original certified software from 34,000
  Ballot Marking Devices and install new software, which was uncertified and untested.



  Channel 11 in Atlanta featured the issue tonight. (https://youtu.be/lMJU2p4_LDM) We
  are aware that several other reporters are trying to get answers as well, without
  success.
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  Yesterday the Court unsealed critical information about the voting system changes,
  which is important for election officials to read. Meantime, the State is pressuring county
  officials to comply with their instructions, without considering the consequences.



  On Monday Chris Harvey issued a bulletin titled, “Be Wary of False and Misleading
  Information re: ICX Update”



  The extra capitalization probably tipped you off to be wary of what was to follow.



  If you’ve read many of the Court documents in our Curling v. Raffensperger case, you’ll
  be familiar with the pattern: Coalition for Good Governance presents testimony from the
  nation’s most respected expert witnesses, evidence, science, law, and facts. State
  responds with hyperbole and unsubstantiated claims, and sometimes name-calling.



  The State is attempting to force you into a difficult choice –to follow their orders, and
  trust that nothing goes wrong, or to use your authority do follow what the statutes and
  election rules require, risking retribution from the State Election Board. It comes down to
  this - use the un-auditable BMDs with altered software, or use ballots marked by pen for
  in-person voting.



  The experts confirm that installing hastily written software on the eve of in-person voting
  is akin to redesigning an aspect of an airplane as it is about to take off.



  Here’s what’s wrong with assertions made in the Monday’s Bulletin from Chris Harvey:



  Fact: EAC certification requires pre-approval of de minimis changes before they are
  implemented. The vendor declaring software error-correcting changes “de minimis”
  does not make it so. When you received the new software on Sept 30, with, instructions
  to immediately wipe your BMDs clean and install it, the test lab had NOT issued its
  report (dated Oct 2) and Dominion had not submitted the proposed “de minimis” change
  to the EAC. We can find no evidence that the proposed change has been submitted to
  the EAC for certification, despite the Secretary’s commitment to the Court that it had
  been done.
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  Fact: the lab that tested the software change did not test to be sure it did not “cause any
  other issues with the operation of the ICX.”



  Fact: When you were asked to install the software on 9/30, the updated version of the
  ICX touchscreen software (version 5.5.10.32) was NOT certified by the Secretary of
  State. It was technically certified (but without conducting the mandated prerequisite
  tests) yesterday, October 5. This is risk for your voters and their candidates that the
  county boards simply cannot tolerate.



  Fact: The Secretary made no mention that state law requires counties to conduct
  acceptance testing after installing modified software, and before installing the November
  programming and conducting LAT, leaving the counties to deal with the consequences
  of the failure to do so.



  With regards to the shocking assertion that the Secretary of State helped draft an
  intended loophole in the law to make required EAC system certification meaningless – it
  boggles the imagination. He claims that while the General Assembly ordered that only
  EAC software be purchased, he can change it behind closed doors to do whatever he
  wants. The Secretary is shamelessly defending his “election security be damned”
  policies, despite the his disingenuous “Secure the Vote” logo.



  Don’t take our word for any of this. The transcript of the October 1 court conference was
  just unsealed, along with new declarations from experts Alex Halderman, Kevin
  Skoglund, and Harri Hursti, plus the Pro V&V test lab letter. We attached them for
  you to read the grave concerns of the nationally respected experts along with
  the transcript from the sealed proceedings. The State has been unable to
  engage experts who support their use of BMDs or this software. Instead they
  only have (often inaccurate) testimony from vendors.


  The SOS wants you to bet your voters’ ballots, and your counties’ candidates’
  campaigns, on the high-risk notion that the software change solves the original problem,
  with no unintended consequences, including the introduction of more errors or malware.
  Also he wants you to bet that losing candidates won’t challenge the election on the
  basis of the host of BMD risks, problems and legal non-compliance from ballot secrecy
  to failing software that may well hide its defects.
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  The experts are clear: if you use the altered BMDs, your elections will not be
  defensible.



  The only sound choice is to draw a line in the sand and strictly comply with the law. The
  law holds the County Superintendent responsible for the conduct of elections. And when
  things go wrong, and the lawsuits come, the Secretary of State will blame the counties.



  The November 2020 election is consequential. All eyes are on election administrators.
  And on Georgia. We urge you to put voters first, set aside the problematic BMDs, and
  use ballots marked by pen for in-person voting as authorized by O.C.G.A 21-2-281 and
  SEB Rule 183-1-12-.11(2)(c)-(d)—the only legal path before you for conducting an
  accountable and constitutionally compliant election.



  As always, we are happy to hear from you to discuss this further.



  Marilyn Marks

  Executive Director

  Coalition for Good Governance

  Marilyn@USCGG.org

  704 292 9802




  ‐‐

  Samantha Whitley

  Research Analyst

  Coalition for Good Governance

  Cell: 704 763 8106
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  cgganalyst2@gmail.com
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                                  Exhibit A
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                           OFFICIAL ELECTION BULLETIN
                                       October 5, 2020
  _____________________________________________________________________________________________


  TO:           County Election Officials and County Registrars

  FROM:         Chris Harvey, Elections Division Director

  RE:           Be Wary of False and Misleading Information re: ICX Update

  ______________________________________________________________________

  You may have received correspondence today from activists for hand-marked paper
  ballots and their attorney. These activists have been suing the state and Georgia counties
  for years because they disagree with the decision of the Georgia General Assembly to
  use electronic ballot-marking devices instead of hand-marked paper ballots. Because
  their preferred policy was not enacted, they have tried to force their preferred policy on
  the state through litigation. The latest correspondence makes false and misleading
  allegations regarding the recent update to the ICX (touchscreen) component of Georgia’s
  voting system.

  As you know, an issue was discovered during Logic and Accuracy testing that, in certain
  rare circumstances, caused the second column of candidates in the U.S. Senate Special
  Election to not correctly display on the touchscreen. The issue was caught prior to any in-
  person voting due to excellent L&A testing by county election officials. Soon after the
  issue was brought to our attention, Dominion diagnosed the issue and began to work on
  a solution.

  Dominion’s solution required a de minimis software update to the touchscreen. That
  update was tested at Dominion, tested again at the state’s EAC-certified test lab, and
  tested again at the Center for Election Systems to determine that it resolved the display
  issue and did not cause any other issues with the operation of the ICX. The state only
  distributed the update after verifying the test results with the EAC-certified test lab and
  acceptance testing the update at CES prior to distribution to counties. This is the normal
  process to follow for a state certification update. The updated version of the ICX
  touchscreen software (Version 5.5.10.32) has been certified by the Secretary of State as
  safe for use in Georgia’s elections. You should continue to install the update as instructed

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  by CES. You should also confirm both the confidential hash value and the version number
  on each ICX BMD touchscreen during L&A testing.

  The correspondence you may have received today also misstates Georgia law when it
  says that the update has to first be certified by the EAC. Georgia law required the initial
  system procured to be EAC certified, but it does not require that all updates first be
  certified by the EAC. The law was drafted that way intentionally, with input from our office,
  to ensure that the state did not have to wait on the EAC when important updates were
  needed.1 Even with these provisions of Georgia law, Dominion advises that it has already
  submitted the update to the EAC for approval as a de minimis change, as recommended
  by the EAC-certified test lab.

  Thank you to the counties whose diligent L&A testing allowed this issue to be identified
  and resolved quickly. And thank you to all county election officials for your continued hard
  work in this difficult year for election administration.




  1
   You probably remember that the EAC was without a quorum for two years, and therefore unable to take any
  action.
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


    DONNA CURLING, ET AL.,
    Plaintiffs,
                                                  DECLARATION OF
    v.                                            J. ALEX HALDERMAN

    BRAD RAFFENSPERGER, ET AL.,
    Defendants.                                   Civil Action No. 1:17-CV-2989-AT




         Pursuant to 28 U.S.C. § 1746, J. ALEX HALDERMAN declares under

   penalty of perjury that the following is true and correct:

         1.     I hereby incorporate my previous declarations as if fully stated herein.

   I have personal knowledge of the facts in this declaration and, if called to testify as

   a witness, I would testify under oath to these facts.

         2.     I have reviewed the “Letter Report” prepared by Pro V&V concerning

   version 5.5.10.32 of the Dominion BMD software (Dkt. No. 939). The report makes

   clear that Pro V&V performed only cursory testing of this new software. The

   company did not attempt to independently verify the cause of the ballot display

   problem, nor did it adequately verify that the changes are an effective solution. Pro
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   V&V also appears to have made no effort to test whether the changes create new

   problems that impact the reliability, accuracy, or security of the BMD system.

         3.     This superficial testing is deeply concerning, because Pro V&V’s

   characterization of the source code changes indicates that they are considerably more

   complicated than what Dr. Coomer previously testified was the threshold for

   considering a change to be “de minimis”: “literally a one-line configuration change

   in some config file that would have no material impact on the system” (Dkt. No. 905

   at 102:18-103:14). Instead, Pro V&V states that Dominion made two kinds of

   changes and modified lines in five different source code files. In general, changes

   that affect more lines of source code or more source code files are riskier than smaller

   change, as there is a greater likelihood that they will have unintended side-effects.

   Changes to source code files, as Dominion made here, also tend to be riskier than

   changes to “config[uration] files.”

         4.     The nature of the changes gives me further reason for concern.

   According to Pro V&V, one change involved changing a “variable declaration” to

   modify the “type” of a variable. A variable’s type determines both what kind of data

   it holds and how operations on it function. Although changing a variable declaration

   often involves differences in only one line of source code, the effect is a change to

   how the program operates everywhere the variable is used, which could involve



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   many parts of the source code and span multiple files. For this reason, changing a

   variable’s type frequently introduces new bugs that are difficult to detect. I have

   often experienced such problems while writing software myself.

         5.      It is not possible to evaluate the effects of such a change by analyzing

   only the lines of source code that have been modified. Yet Pro V&V’s description

   of its “source code review” is consistent with having done nothing more. The

   company could have engaged an expert in the specific programming language to

   analyze the quality of the changes and look for subtle side-effects throughout the

   code, but it appears that they did not.

         6.      Instead, the report states that “Pro V&V conducted functional

   regression testing.” Regression testing has a well-defined meaning in computer

   science: checking that a change to a system does not break its existing functionality.

   After a change to a voting system like this, rigorous regression testing is essential

   for ensuring that the system’s reliability, accuracy, and security are not degraded.

   Yet the testing Pro V&V describes performing is not regression testing at all.

   Instead, the company focused entirely on checking whether the ballot display

   problem was fixed and makes no mention of testing any other functionality

   whatsoever.




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         7.     Even for this limited purpose, Pro V&V’s testing methodology is

   inadequate. They first tried to observe the error while using the current version of

   the BMD software, 5.5.10.30. They managed to trigger it using an artificial test

   ballot but failed to reproduce it using the real ballot design from Douglas County

   (where the problem was observed during L&A testing) even after 400 attempts.1

   They then performed the same checks using the 5.5.10.32 software. Pro V&V’s basis

   for concluding that the new software corrects the problem is that they were unable

   to trigger the error with either ballot after 400 tries. Yet this ignores the obvious

   possibility that the error might simply be eluding them, as it did with the Douglas

   County ballot under version 5.5.10.30.

         8.     That is the full extent of the testing described in Pro V&V’s report.

   They did not test that the other functionalities of the machine are not impacted by

   the change. They did not test that the BMD selected and printed results accurately,

   nor did they test that security was unaffected. Tests only answer the questions you

   ask. Here—regardless of what Pro V&V intended—the only questions asked were:

   “Is the stated error observed when using the old software?” and “Is the stated error

   observed when using the new software?” They did not ask, “Is Dominion correct



   1
    It is curious that Pro V&V was unable to reproduce the problem experienced in
   Douglas County, but they appear not to have made any effort to investigate this.

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   about the cause of the problem?” They did not ask, “Does this change absolutely and

   completely fix the issue?” Most importantly, they never asked or answered the key

   question for determining whether the change is de minimis, “Will these

   modifications have any impact on the rest of the voting system’s functionality?”

         9.     Even if the change does correct the bug without introducing new

   problems, it still represents a significant security risk, because of the possibility that

   attackers could hijack the replacement software to spread malware to Georgia’s

   BMDs.

         10.    Defendants say they will guard against this using hash comparisons, but

   the hash comparison process they have described is inadequate in several ways.2 As

   I have previously explained, examining the hash that the BMD displays on screen

   provides no security, because malware on the BMD could be programmed to

   calculate and display the expected hash. Although the State now says it will perform

   some acceptance testing at a central facility, such testing has limited value at best.

   Even if performed correctly—by securely computing the hash of the software using

   a device that is assuredly not affected by malware—acceptance testing can only



   2
    The Pro V&V report lists the hash of a file named ICX.iso, which presumably
   contains the APK as well as other files. Without access to the ICX.iso file, I cannot
   confirm whether that the software purportedly being installed on the BMDs is the
   same as the software Pro V&V built and tested.

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   confirm that the new software was not modified between Pro V&V and the test

   facility. It does not ensure that the new software actually matches Dominion’s source

   code or that it will not be modified during later distribution to counties or installation

   on the tens of thousands of BMDs statewide.

         11.    The report mentions that Pro V&V performed a “trusted build” of the

   new software. This refers to the process by which Pro V&V compiled the source

   code to produce the APK file for distribution and installation throughout Georgia.

   The result of compiling source code, often called a software “binary,” is in a non-

   human readable format, and it is not possible in general to confirm that a binary

   faithfully matches source code from which it was purportedly compiled. As a result,

   if Pro V&V were to modify the BMD software to introduce malicious

   functionality—or if attackers who infiltrated their systems were to do so3—there



   3
     Notably, Pro V&V’s website (http://www.provandv.com/) does not support
   HTTPS encryption, and modern web browsers warn users that it is not secure, as
   shown below. In my experience, organizations that fail to support HTTPS are
   likely to be ignoring other security best practices too, which increases the
   likelihood of attackers successfully infiltrating their systems.




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   would be no readily available way for the State or Dominion to detect the change.

   The State’s election security experts themselves have emphasized the risk of election

   manipulation by so-called “insiders.”

         12.    Defendants state that Pro V&V has submitted the report to the EAC to

   seek approval for a de minimis change. The EAC’s de minimis software change

   process was introduced less than a year ago, and, as far as I am aware, it has only

   been invoked on one or two occasions so far. In my opinion, the EAC cannot make

   an informed determination as to whether the new Dominion software meets the de

   minimis standard based on the information contained in Pro V&V’s report, and I

   sincerely hope the agency demands more rigorous testing before allowing the

   software to be used under its certification guidelines.



         I declare under penalty of the perjury laws of the State of Georgia and the

   United States that the foregoing is true and correct and that this declaration was

   executed this 3rd day of October, 2020 in Ann Arbor, Michigan.




                                           J. ALEX HALDERMAN




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                    IN THE UNITED STATES DISTRICT COURT FOR
                       THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


                                               )
       DONNA CURLING, et al.                   )
                                               )
       Plaintiff,                              )
                                               )   CIVIL ACTION FILE NO.: 1:17-
       vs.                                     )   cv-2989-AT
                                               )
       BRAD RAFFENSPERGER, et al.              )
                                               )
       Defendant.                              )
                                               )
                                               )

             SUPPLEMENTAL DECLARATION OF KEVIN SKOGLUND

             KEVIN SKOGLUND declares, under penalty of perjury, pursuant to

      28 U.S.C. § 1746, that the following is true and correct:

      1. I hereby incorporate my previous declarations as if fully stated herein. I

         have personal knowledge of all facts stated in this declaration, and if

         called to testify, I could and would testify competently thereto.

      2. I have read the Letter Report regarding “Dominion Voting Systems ICX

         Version 5.5.10.32” from Pro V&V to Michael Barnes dated October 2,

         2020 (“Letter Report”).

      3. The Letter Report describes Pro V&V’s evaluation of a proposed code

         change by Dominion to address a flaw in the current ICX software

         related to reliably displaying two columns of candidates.
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      4. Pro V&V’s evaluation is inadequate to verify Dominion’s opinion of the

         root cause of the error, Dominion’s proposed fix for the error, or whether

         the nature of the proposed change is considered “de minimis” as defined

         by the U.S. Election Assistance Commission (“EAC”).



                                  High Impact Changes

      5. The Letter Report describes changes that are potentially high impact.

      6. I expected the change to be limited to one or two lines in a configuration

         file based its description in the hearings. A configuration file change

         would provide a new value for the existing code to use.

      7. The impact of changing a value being used by code is far less than the

         impact of changing the code itself, in the same way that changing the

         furniture in a house has less impact than moving walls. The value may be

         different but it will travel the same pathways through the code during

         operation. The structure and governing rules are unchanged.

      8. Instead, the Letter Report describes two sets of changes to the source

         code itself in a total of five files. It does not quantify the number of lines

         changed, but it must be at least five. These are not merely configuration

         changes. Variable and function definitions in the source code are

         changed.
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      9. The changes described may sound minor, for example changing a

         variable from an integer (e.g., 123) to a string (e.g., “123”), but I would

         give them no less consideration. I have broken plenty of code making

         similar changes.

      10.One reason is that any code elsewhere in the program that uses a changed

         variable or function could be impacted. Another part of the code may act

         correctly when given 123 but act incorrectly when given “123”. The first

         can have numbers added and subtracted, while the second can be

         searched for a specific character, but the reverse is often not true.

      11.The Letter Report describes a source code review limited to the changed

         lines of source code. The code comparison performed is similar to

         reviewing the changed text in a legal blackline. It does not appear that

         Pro V&V looked throughout the source code for other interactions which

         could prove problematic.

      12.The Letter Report states that Dominion believes the problem is a

         collision of resource identifiers between their software and the

         underlying operating system. I think it’s a fair analogy to say that

         Dominion’s software and the operating system sometimes try to park in

         the same parking space.

      13.In my experience, an abundance of caution is necessary when the

         operating system and software running on it are working in a shared
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         space and not playing well together. A misstep could create additional

         problems in their interactions and any change should be carefully

         considered and well tested.

      14.The Letter Report does not describe any review of the proposed

         software’s interaction with the operating system. It does not mention the

         involvement of any expert on the operating system or an opinion

         regarding colliding resource identifiers—the reported cause and the target

         of the resolution. This is a concerning oversight.



                  Inadequate Testing of the Root Cause of the Error

      15.Pro V&V was unable to reliably reproduce the error with the current

         version of the software, ICX 5.5.10.30. In fact, they reported producing

         the error only once out of 810 total attempts.

      16.Pro V&V appears to have taken Dominion’s word for the root cause of

         the error. The Letter Report does not mention any independent

         investigation to determine the cause.

      17.The description of Pro V&V’s first test, using a sample election database,

         begins with a procedure likely suggested by Dominion—toggling

         between font sizes to trigger the error. When the 10th toggle produced the

         error, Pro V&V considered the root cause to be confirmed. That is in

         itself not unreasonable.
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      18.However, the same test procedure was later performed using an actual

         election database, from Douglas County where logic and accuracy testing

         had revealed the error previously, and 400 toggles and several reboots

         could not produce the error. Of two test cases that should have both

         failed, one failed and one did not.

      19.Despite these conflicting test results, Pro V&V did not investigate further.

         They did not consider what might be different between these two test

         cases to cause contradictory results. They did not consider if the sample

         election database at the center of their tests was a poor substitute for a

         real database. They did not consider that the root cause could be different,

         or that toggling the font size might not be a good trigger for the error.

      20.Pro V&V wrote the Letter Report without having confirmed that

         Dominion’s opinion of the root cause was correct.



                 Inadequate Testing of the Proposed Fix for the Error

      21.It is impossible to verify that a proposed change sufficiently addresses an

         error if the root cause is unconfirmed. A change may only appear to fix

         the error due to coincidence. Correlation is not causation. A change may

         incompletely fix the error or create subtle side effects.

      22.I have learned this lesson many times while fixing software bugs during

         my 23 years as a programmer, and I teach that lesson in a course on
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         software testing. I have also had the practical experience of taking a car

         to the auto mechanic over and over as they try different solutions for an

         uncertain cause.

      23.Pro V&V’s basis for determining that the error was fully resolved by the

         proposed change, ICX 5.5.10.32, was that the error was not observed

         after 400 toggles and several reboots.

      24.This is not an ideal test case because “absence of evidence is not

         evidence of absence.” The conclusion requires an assumption that

         subsequent attempts would not surface the error. Given that the first test

         required only 10 toggles to trigger the error, after 400 toggles and several

         reboots I might have made a similar assumption.

      25.However, when Pro V&V performed the subsequent test on the Douglas

         County database and also could not observe the anticipated error after

         400 toggles and several reboots, they did not revisit their conclusion

         about ICX 5.5.10.32. They should have.

      26.They did not consider that the error could be eluding them in ICX

         5.5.10.32 as it was with ICX 5.5.10.30 using Douglas County’s database.

         They did not consider that their assumption that 400 toggles was enough

         to surface the error was wrong. They did not consider that the proposed

         change might be an insufficient remedy for the problem.
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      27.To be clear, I am not suggesting that Dominion’s opinion of the root

         cause is incorrect or that Dominion’s proposed change does not fix it. I

         am saying that testing was insufficient to verify either one. Pro V&V

         showed no skepticism about their findings when the results created a

         logical fallacy.

      28.Even more surprising, Pro V&V had a real election database from

         Douglas County in hand, yet they did not test it with ICX 5.5.10.32. The

         stated purpose of this eleventh-hour software change was to resolve this

         error for the current election database, rather than create and distribute a

         new one. The test lab hired to confirm that the new software will work

         with the current database in a matter of days did not even check.

      29.Pro V&V wrote the Letter Report without having confirmed that

         Dominion’s proposed fixed correctly addressed the error, neither on the

         sample election database nor on the election county database counties are

         planning to use.



                            Inadequate Testing of “De Minimis”

      30.The EAC defines a de minimis change as:

            A de minimis change is a change to a certified voting system’s

            hardware, software, TDP, or data, the nature of which will not

            materially alter the system’s reliability, functionality, capability, or
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             operation. Under no circumstances shall a change be considered de

             minimis if it has reasonable and identifiable potential to impact the

             system’s performance and compliance with the applicable voting

             Standard.1

      31.The Letter Report does not describe any testing to demonstrate that the

          nature of the proposed change does not “materially alter the system’s

          reliability, functionality, capability, or operation” and does not have a

          “reasonable and identifiable potential to impact the system’s performance

          and compliance with the applicable voting Standard.”

      32.Pro V&V ignored these critical, foundational requirements in their

          testing.

      33.Pro V&V did not test whether any other functionalities of the device are

          impacted. They did not test whether the new build of the software

          correctly selects candidates in a series of contests and accurately prints

          them on a ballot. They did not test other screens to ensure that a fix to the

          two-column layout did not break another. They did not check if it was

          still possible to change languages or screen contrast, or whether the audio

          ballot, used by voters with disabilities, was still working. They did not

          test whether the device’s security was impacted.


      1“Testing and Certification Program Manual,” Section 3.4.2, available at: https://
      www.eac.gov/sites/default/files/eac_assets/1/6/Cert_Manual_7_8_15_FINAL.pdf
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      34.Pro V&V did not answer the litmus test for de minimis. Does the change

            materially alter the system’s reliability, functionality, capability, or

            operation?

      35.The Letter Report describes “functional regression testing,” which might

            help answer this question, but it misuses the term.

      36.Regression testing is a “re-running functional and non-functional tests to

            ensure that previously developed and tested software still performs after a

            change.”2 It is so named because a regression is a step backwards in the

            development of software, the proverbial “two steps forward, one step

            back.”

      37.Pro V&V examined the rendering of the two-column layout in their tests.

            Regression testing would validate that other parts of the software still

            perform correctly.

      38.Regardless of Pro V&V’s determination, this change is not a de minimis

            change until the EAC reviews it and approves in writing. “The EAC has

            sole authority to determine whether any VSTL endorsed change

            constitutes a de minimis change under this section. The EAC will inform

            the Manufacturer and VSTL of its determination in writing.”3



      2“Regression Testing”, Wikipedia, available at https://en.wikipedia.org/wiki/
      Regression_testing
      3   “Testing and Certification Program Manual,” Section 3.4.3
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      39.The EAC prohibited any software changes to be considered de minimis

         until recently out of concern that even small changes might alter the

         system functionality, due to potential ripple effects I described earlier.

      40.Given that the process is new, I expect that the EAC will scrutinize any

         request for a software de minimis change carefully. I expect the EAC to

         ask for more rigorous testing and reporting than the Letter Report.



            Concerns about the Time Remaining for Review and Testing

      41.In my previous declaration I expressed concern about a software change

         at this late date and fear that time pressures may result in less thorough

         review and testing of the proposed change.

      42.The Letter Report is a wholly inadequate review. Its tests are incomplete.

      43.The EAC has not yet begun to review this proposed software change.

         Using the revised software without the EAC’s approval will void the

         federal certification. EAC approval must be granted in the next five

         business days to allow early voting to commence on the following

         Monday.

      44.Yet the uncertified software has been distributed and counties have been

         instructed to install it on over 30,000 ImageCast X devices and to begin

         testing them.
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      45.Last week, I heard Michael Barnes describe the current procedures for

         logic and accuracy testing. The procedures do not test every device, for

         every ballot style, for every candidate. The procedures do not include any

         additional testing related to this error. This problem and others could pass

         through logic and accuracy testing undetected.



        Executed on this date, October 4, 2020.




                                                    Kevin Skoglund
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

    DONNA CURLING, et al.

          Plaintiffs,
                                                   CIVIL ACTION
          v.
                                                   FILE NO. 1:17-cv-2989-AT
    BRAD RAFFENSPERGER, et al.,

          Defendants.


             STATE DEFENDANTS’ NOTICE OF FILING
       REDACTED VOTING SYSTEM TEST LABORATORY REPORT

         Pursuant to the Court’s September 30, 2020 docket entry, and as

   discussed in Defendants’ Notice of Filing Regarding the Court’s Request for

   Documentation, [Doc. 929], State Defendants provide notice of filing a

   redacted copy of the Voting System Test Laboratory Report, attached hereto

   as Exhibit 1.

         Respectfully submitted this 5th day of October 2020,

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                        CERTIFICATE OF COMPLIANCE

         Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

   foregoing STATE DEFENDANTS’ NOTICE OF FILING REDACTED

   VOTING SYSTEM TEST LABORATORY REPORT has been prepared in

   Century Schoolbook 13, a font and type selection approved by the Court in

   L.R. 5.1(B).

                                   /s/ Carey Miller
                                   Carey Miller




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      Letter Report


      To:     Michael Barnes
      From: Wendy Owens - Pro V&V, Inc.
      CC:     Jack Cobb - Pro V&V, Inc.
      Date:    October 02, 2020
      Subject: Dominion Voting Systems ICX Version 5.5.10.32



      Dear Mr. Barnes:

      Pro V&V is providing this letter to report the results of the evaluation effort on the ICX version 5.5.10.32.
      An examination was performed to confirm that this version of the ICX software corrected the issue with
      displaying of two column contests found in ICX version 5.5.10.30.

      Background

      Pro V&V was contacted by Georgia Secretary of State Office and Dominion Voting System to analyze
      an issue that was discovered in Georgia’s Election Logic and Accuracy Testing (L&A testing) for the
      2020 General Election. It was discovered during L&A testing that a display error, under certain
      conditions, would occur where the second column of candidates would not be displayed properly.
      Dominion Voting Systems researched the issue and found that a static container identifier was causing a
      collision with an Android automated process for assigning container identifiers. This collision caused the
      display for the second column candidates not to be rendered on the screen properly and occurred so
      infrequently that it appeared intermittent.

      Test Summary

      Dominion Voting Systems submitted source code for ICX version 5.5.10.32 to Pro V&V. Pro V&V then
      conducted a comparative source code review comparing ICX version 5.5.10.32 to the VSTL-provided
      previous ICX version 5.5.10.30. The source code review found two source code changes in a total of five
      files. One change was a variable declaration change the variable type to a string from an integer and
      changing the assignment from a static number to assigning another variable. The other update was to
      change a function call passing a “wrapper tag” instead of a “wrapper ID”. All other source code remained
      constant. After conducting the source code review, a Trusted Build process was conducted. The Product
      from this build is the ICX.iso file. The SHA-256 hash for this file is as follows:

              ICX.iso -



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      Pro V&V conducted functional regression testing using version 5.5.10.30 and 5.5.10.32. An ICX
      machine was loaded with 5.5.10.30 and an election containing two 2 column contests. Pro V&V toggled
      between “Normal” and “Big” font sizes. Approximately on the 10th toggle the column disappeared as
      presented in Photograph 1.and 2 below:




                              Photograph 1: Max Candidate Election Contest One




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      After reproducing the issue. The same device was load with the ICX version 5.5.10.32 and the same
      election. Pro V&V toggled 50 times then rebooted, 100 times then rebooted and finally 250 times. Pro
      V&V never observed the issue.

      Pro V&V requested Douglas County Georgia’s 2020 General Election database that had produced the
      issue, but could not reproduce the issue for the ICX software version 5.5.10.30. Even though Pro V&V
      could not reproduce the issue, Pro V&V ran the same test as the test election toggling 50 times then
      rebooted, 100 times then rebooted and finally 250 times. Pro V&V never observed the issue.

      Conclusion

      Based on the review of the source code and nature of the change, Pro V&V recommends the change be
      deemed as de minimis. Based on the testing performed and the results obtained, it was verified through
      source code review and functional testing that the issue found in ICX version 5.5.10.30 can not be
      reproduced in ICX version 5.5.10.32.

      Should you require additional information or would like to discuss this matter further, please contact me
      at 256-713-1111.

      Sincerely,




      Wendy Owens
      VSTL Program Manager
      wendy.owens@provandv.com




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      1                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
      2                               ATLANTA DIVISION

      3

      4    DONNA CURLING, ET AL.,                   :
                                                    :
      5                PLAINTIFFS,                  :
           vs.                                      :   DOCKET NUMBER
      6                                             :   1:17-CV-2989-AT
           BRAD RAFFENSPERGER, ET AL.,              :
      7                                             :
                       DEFENDANTS.                  :
      8

      9

     10              TRANSCRIPT OF ZOOM VIDEO CONFERENCE PROCEEDINGS

     11                      BEFORE THE HONORABLE AMY TOTENBERG

     12                          UNITED STATES DISTRICT JUDGE

     13                                  OCTOBER 1, 2020

     14                                      9:08 A.M.

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     21        MECHANICAL STENOGRAPHY OF PROCEEDINGS AND COMPUTER-AIDED

     22                             TRANSCRIPT PRODUCED BY:

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           OFFICIAL COURT REPORTER:               SHANNON R. WELCH, RMR, CRR
     24                                           2394 UNITED STATES COURTHOUSE
                                                  75 TED TURNER DRIVE, SOUTHWEST
     25                                           ATLANTA, GEORGIA 30303
                                                  (404) 215-1383
                                UNITED STATES DISTRICT COURT
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      1                  A P P E A R A N C E S        O F   C O U N S E L

      2

      3    FOR THE PLAINTIFFS DONNA CURLING, DONNA PRICE, JEFFREY
           SCHOENBERG:
      4

      5          DAVID D. CROSS
                 MORRISON & FOERSTER, LLP
      6

      7
           FOR THE PLAINTIFFS COALITION FOR GOOD GOVERNANCE, LAURA DIGGES,
      8    WILLIAM DIGGES, III, AND RICARDO DAVIS:

      9
                 BRUCE BROWN
     10          BRUCE P. BROWN LAW

     11          ROBERT ALEXANDER McGUIRE, III (VIA VIDEO CONFERENCE)
                 ROBERT McGUIRE LAW FIRM
     12

     13    FOR THE STATE OF GEORGIA DEFENDANTS:

     14
                 VINCENT ROBERT RUSSO, JR.
     15          CAREY A. MILLER
                 ROBBINS ROSS ALLOY BELINFANTE LITTLEFIELD, LLC
     16

     17
           FOR THE FULTON COUNTY DEFENDANTS:
     18
                 CHERYL RINGER
     19          OFFICE OF THE FULTON COUNTY ATTORNEY

     20

     21

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      1                              P R O C E E D I N G S

      2    (Atlanta, Fulton County, Georgia; October 1, 2020.)

      3                THE COURT:     Good morning.      Counsel, would you just

      4    check the extra numbers here -- anyone with an extra number

      5    here or person here to make sure everyone here is identified

      6    with you.     I can see what they appear to be.

      7                Mr. Martin, is this everybody that you have let in?

      8                COURTROOM DEPUTY CLERK:         Yes, ma'am, this is

      9    everybody.

     10                THE COURT:     All right.      So if -- the two individuals

     11    who are just solely appearing by telephone, can you identify

     12    yourselves?

     13                MS. RINGER:      Phone number ending in 8737 is Cheryl

     14    Ringer from Fulton County.

     15                THE COURT:     Okay.    Very good.     That is fine.

     16                And the person whose number ends in 8993, would you

     17    identify yourself.

     18                MR. FRONTERA:      Your Honor, can you hear me?          This is

     19    Mike Frontera, general counsel, with Dominion Voting Systems.

     20                THE COURT:     Very good.      Thank you very much.       All

     21    right.    That is fine.      Everyone is authorized to be on.

     22                Thank you, everyone, for being here.            I want to say

     23    from the start that we have this now on the platform -- a

     24    different Zoom platform, and we are -- I am -- I have

     25    authorized the videotaping of the hearing solely for the

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      1    purpose of if I determine that some portion of this really

      2    should have been on the public record that it can be made

      3    available on the record.

      4                Not knowing what was going to be discussed exactly

      5    and understanding that there might be some confidentiality

      6    issues, I decided that we should just proceed in this way,

      7    rather than by making it open and then trying to pull it back.

      8    So that is the purpose of videotaping it.             I don't really --

      9    normally wouldn't do that.

     10                But under the emergency circumstances here, I have

     11    proceeded this way.       And I think it is the soundest way of

     12    proceeding in that way.        And also I can make any portion of

     13    this that would be public be available to the public.

     14                Additionally, I want to note though that the

     15    videotape is not -- will not be the transcript of record.                 The

     16    only transcript of record of that will be created by Ms. Welch

     17    as the court reporter in this matter.            And you are not to refer

     18    to the videotape at any point as kind of the official record in

     19    this matter.     And, of course, the transcript will be filed.

     20                I am -- just was, frankly, perplexed by the response

     21    that the State filed last night.           And I know everyone is busy.

     22    I'm not trying to in any way minimize how busy you are.                And --

     23    and Mr. Russo already has told me from the start that he has to

     24    be out -- that he has to be complete by 10:00.

     25                Are you starting the hearing in front of Judge Brown

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      1    at 10:00, Mr. Russo?

      2                MR. RUSSO:     Your Honor, that hearing is at 10:00.

      3    But we have sent two of our colleagues there to do it so we

      4    could be here.      So Mr. Belinfante and Mr. Tyson are there, and

      5    Mr. Miller and me are here.         So you have got us today.

      6                THE COURT:     Okay.    Very good.     Wonderful.

      7                MR. MILLER:      And I think the 10:00 issue was specific

      8    to Dr. Coomer's availability.

      9                THE COURT:     All right.      Very good.     So please,

     10    everyone, bear that in mind as to Dr. Coomer's availability

     11    because if there is something that he needs to address early

     12    on, whether it is from the perspective of the Court or the

     13    State, let's be sure we just jump ahead and get his input.

     14                MR. RUSSO:     Your Honor, also, we have the staff from

     15    the Secretary's office on standby.           We have Mr. Germany, the

     16    general counsel, on right now.          But Mr. Sterling and Mr. Barnes

     17    are -- we told them to continue working since they have

     18    election stuff going on and that if you needed something from

     19    them we would patch them in accordingly.

     20                THE COURT:     That's fine.      All right.     Well, as I

     21    understand it, the -- from what you -- from what the State

     22    submitted last night -- and it wasn't on the record.                That was

     23    just, I think, a letter from counsel.            It was that you -- that

     24    basically the State defendants were proceeding, that you were

     25    sending the software out today -- the software to jurisdictions

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      1    across the state, and basically this is a distraction that I

      2    was causing, and it was none of my business.              Well, that was

      3    the tonality of it.       It was a quick letter.

      4                But let me just say -- start from the start is that I

      5    think I have endeavored to work cooperatively with everyone.                    I

      6    have an order to issue.        I need to -- whatever it says, whether

      7    it is just simply -- you know, doesn't do anything at all,

      8    which is certainly -- you know, given everything I have told

      9    you in the past that I am very reluctant to even consider in

     10    this election saying, oh, suddenly do a sudden change to the

     11    paper ballot.

     12                But I still -- this is still a record.             And I don't

     13    know what will happen in the days ahead.             But I think that the

     14    Court is entitled to, with respect, be given the information

     15    needed to issue an intelligent decision.             And this was a change

     16    of circumstances.

     17                And I am -- I don't know who thought I wouldn't have

     18    issued a decision without full knowledge of the circumstances

     19    that have arisen.       I don't mean this personally against anyone.

     20    I think everyone has generally been very professional with me.

     21    But this is not an acceptable response, and I know everyone is

     22    short on sleep and at their wits' end on some things.                So I

     23    understand it that way.        I sure am very short on sleep too.

     24                And there is a lot of stress under these

     25    circumstances.      So I humanly recognize all of that.           And so I

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      1    just sort of had to breathe in and say, all right, where are we

      2    going from now, once I got the response and just say, all

      3    right, you know, without any drama, I want to understand what

      4    is going on.

      5                And that -- the expectation I had was not the -- that

      6    things were just proceeding and that I wouldn't basically know

      7    what was happening.

      8                So I think that is -- just as an initial matter, that

      9    is where we're at.       I mean, I am, you know, at 95 percent on

     10    having an order ready to be timely issued.             And I held it back

     11    while this is going on.

     12                And, of course, that is why on Monday we issued the

     13    order on the one thing that was clearest that needed to be

     14    acted upon as soon as possible.          But I was holding back as soon

     15    as I heard anything was going on.

     16                So let's just talk about what has happened.              My

     17    understanding from the letter on September 29th that is on the

     18    record that -- as opposed to the letter that I received

     19    yesterday from counsel that the acceptance testing -- there

     20    would be acceptance testing that would occur before there was

     21    going to be distribution.

     22                I guess it is a filing now.          I'm sorry.     I didn't

     23    realize that counsel's letter was filed.             So excuse me for

     24    that.

     25                In any event, I thought there was going to be

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      1    acceptance testing before there was distribution.               And maybe

      2    there was, and maybe I misunderstood what was instead stated in

      3    the brief letter.

      4                So, first of all, let's just start off just as to

      5    that.    Did that occur?

      6                MR. RUSSO:     Your Honor, yes.       So, first, you know,

      7    let me say we filed the letter under seal because that is what

      8    was discussed on Monday.         As a letter, you said to file it

      9    under seal.      So that is why we filed it that way.

     10                THE COURT:     That is fine.

     11                MR. RUSSO:     We didn't necessarily think there was

     12    something in there that was attorneys' eyes only or anything to

     13    that extent.

     14                THE COURT:     All right.      Then I will lift the seal.

     15    Okay.    Fine.

     16                MR. RUSSO:     In terms of the acceptance testing, the

     17    Secretary of State's office did conduct acceptance testing

     18    prior to distribution of the update.            That is correct.

     19    Mr. Barnes did that.       And then the distribution proceeded.

     20                THE COURT:     And when did Mr. Barnes do that?

     21                MR. RUSSO:     I believe his acceptance testing was

     22    done -- conducted yesterday.          Mr. Miller might -- might know if

     23    it was done yesterday or the day before.             Frankly, my days are

     24    starting to run together right now.

     25                THE COURT:     Yeah.

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      1                MR. MILLER:      Your Honor, I believe it was done Monday

      2    and Tuesday.     And so the kind of process through that -- the

      3    acceptance testing was, you know, essentially receiving the

      4    application from Pro V&V and running through just a typical

      5    acceptance testing and, you know, primarily ensuring also that

      6    the rendering issue that was discovered in logic and accuracy

      7    testing was not recurring.

      8                And, importantly, you know, there's -- acceptance

      9    testing was not the only thing being done.             The voting system

     10    test laboratory was also doing its part.

     11                And, frankly, Your Honor, as to the filing, we

     12    certainly didn't intend any disrespect.            We do, you know, have

     13    to note our objections.        And, of course, it becomes an awkward

     14    situation to do so.       And we do appreciate your understanding

     15    throughout this thing.

     16                But we also, frankly, understood that you may be

     17    seeking the Pro V&V evaluation, which the formal evaluation we

     18    just -- we don't have right now.           They have completed the

     19    evaluation.     The written report is not done yet.

     20                MR. RUSSO:     That's right, Your Honor.         That was in

     21    our filing yesterday.        And we didn't -- you know, we expect

     22    that report -- to have it by the end of the week.

     23                To the extent there is any delay from Pro V&V getting

     24    us the report, we just didn't want, you know, there to be

     25    any -- any misunderstanding about a delay if we made that

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      1    representation.      But we do expect it by the end of the week,

      2    and we will file it upon receipt.

      3                In terms of the EAC issue, you know, the order said

      4    to file -- to file anything that is filed with the EAC,

      5    presuming a filing is made with the EAC.             Dominion actually

      6    does -- Dominion would make the filing with the EAC, not the

      7    State.    And Dr. Coomer can speak to that.

      8                But there appeared to be some misunderstanding in

      9    counsel's email yesterday regarding the EAC filing.               But to

     10    be -- to be clear, we -- since it has not been filed yet, we

     11    didn't have any update for you.          But that is a Dominion issue,

     12    not a Secretary of State issue.

     13                THE COURT:     Well, it is obviously the responsibility

     14    under the state law still though for you to have an

     15    EAC-certified system.

     16                MR. RUSSO:     Well, Your Honor, I mean, the update is a

     17    de minimis update.       So that is according to Dominion.

     18                In terms of what state law requires and what state

     19    law doesn't require, I mean, there is not a claim in this case

     20    regarding our compliance with state -- with state law.                The

     21    only state law claim that was in this case was abandoned by

     22    plaintiffs earlier and dismissed in Your Honor's order on the

     23    dismissal a couple of months ago.

     24                THE COURT:     All right.      Let me just put it this way.

     25    I mean, it is an indicia of -- it is an important indicia of

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      1    what is going on and is this -- and from an evidentiary

      2    perspective certainly relevant.

      3                So I would -- you know, I went back at least and

      4    looked at the most recent regulations issued by the EAC.                 And I

      5    didn't see it as not being a requisite step to -- even a

      6    software modification as being requisite.             Maybe I will hear

      7    differently from Mr. Coomer or Dr. Coomer -- excuse me.                And

      8    Dr. Coomer is welcome to address at this point where things

      9    stand.

     10                DR. COOMER:      Good morning, Your Honor.         This is

     11    Dr. Coomer.     Yeah.    So I'll try to describe the process again.

     12                So we identified this change.          And it was our feeling

     13    that it was de minimis.        But we do not make that determination

     14    ourselves as a company.

     15                So the way the EAC process works is we submit that

     16    change to an accredited laboratory, in this case Pro V&V.                 They

     17    analyze the change.       They look at the code.        And they determine

     18    whether it is de minimis or not.

     19                If it is de minimis, then they do whatever testing

     20    they need to do to prove the nature of the change and verify

     21    it.   And then they label it a de minimis change.              They write a

     22    report.    And at that point, it is just submitted to the EAC as

     23    what is called an ECO, an engineering change order.

     24                So there is no new EAC certification effort.              It is

     25    simply updating the current certification for this ECO.                And

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      1    that is what we --

      2                THE COURT:     I'm sorry.      ECO?   I'm sorry.

      3                DR. COOMER:      ECO, engineering change order.          And this

      4    is a software ECO.       And that is how the process works.

      5                So once Pro V&V has the final report, we will submit

      6    that to the EAC, Election Assistance Commission, certification

      7    as an ECO, engineering change order, for the current

      8    EAC-certified system, the 5.5-A.

      9                THE COURT:     So the November 15 clarification --

     10    notice of clarification from the EAC that indicates that a

     11    proposed de minimis change may not be implemented as such until

     12    it has been approved in writing by the EAC, that is

     13    meaningless?     That is Provision 3.4.3.

     14                DR. COOMER:      I have got to be honest.        We might be a

     15    little bit out of my bounds of understanding of the exact rules

     16    and regs there.

     17                THE COURT:     And Mr. Maguire, as counsel for you -- it

     18    looks like he is present.

     19                MR. MAGUIRE:      Yes.    That's correct, Your Honor.

     20                THE COURT:     Is that said at all?

     21                MR. MAGUIRE:      I'm sorry.     I'm unprepared to address

     22    it, Your Honor.

     23                THE COURT:     All right.      That is fine.     I didn't ask

     24    you to be prepared.       I just wanted to -- in case you wanted to,

     25    I wanted to give you that opportunity.

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      1                MR. CROSS:     Your Honor, if it is helpful to you,

      2    Mr. Skoglund -- this is an area of expertise for him.

      3                Your Honor has hit the nail on the head, which what

      4    Dr. Coomer's explanation left off was once that EAC paperwork

      5    goes in you still have to wait for approval from the EAC.                 The

      6    EAC has to agree that it is a de minimis change and that it can

      7    operate under the existing certification.

      8                If they disagree, then you have got to get a new

      9    certification.      But until that is approved, you do not have EAC

     10    approval to proceed.       And Mr. Skoglund can explain that in more

     11    detail.    So right now they would be proceeding without EAC

     12    approval.     That is where we stand.        That should be undisputed.

     13                THE COURT:     Maybe that is what they have determined

     14    they must do.      But I'll let Mr. Skoglund briefly discuss it.                I

     15    mean, I think it is sort of evident.

     16                But, Mr. Skoglund, can we -- thank you.

     17                MR. RUSSO:     Your Honor, one quick point.          O.C.G.A.

     18    21-2-300(a)(3) is clear that the equipment has to be

     19    EAC-certified prior to purchase, lease, or acquisition.                The

     20    ongoing EAC certification that is now being raised, that is not

     21    in the statute.      But Mr. Skoglund can go ahead and explain the

     22    rest of the process.

     23                THE COURT:     All right.      And I'll get back to you,

     24    Mr. Russo.

     25                MR. SKOGLUND:      So I would just agree with what has

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      1    been represented already.         That is correct.      You void your

      2    certification if you don't have written approval before making

      3    this change.

      4                So the correct process is to go to the VSTL, then go

      5    to the EAC, have them review it.           They are the ones who make

      6    the determination of de minimis based on the recommendation of

      7    the VSTL.     But it is really up to them to decide that.             And

      8    then they are the ones who bless it as being part of the

      9    certification.

     10                THE COURT:     Either Mr. Russo or Dr. Coomer, is there

     11    any -- has there been any type of contact at this point with

     12    the EAC to say you are in emergency circumstances?

     13                DR. COOMER:      This is Dr. Coomer.       I don't -- I don't

     14    believe so.     But we were waiting for that final report from Pro

     15    V&V.   And then that would be immediately submitted to the EAC.

     16                MR. RUSSO:     That's right.      The Pro V&V report --

     17                THE COURT:     I'm sorry.      Who is speaking right now?

     18                MR. RUSSO:     Vincent Russo.

     19                THE COURT:     All right.      I'm sorry.     We've got a lot

     20    of people here.

     21                MR. RUSSO:     No problem.      The Pro V&V report or Pro

     22    V&V has indicated it is a de minimis change.              So as

     23    Mr. Skoglund mentioned, the EAC will take that report and that

     24    recommendation and proceed from there.

     25                But, again, we will file that report with you.               And

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      1    Dominion will move forward with its piece in reliance on that

      2    report.

      3                MR. MILLER:      Your Honor, I do also just want to point

      4    out briefly that, you know, EAC certification is not

      5    necessarily across the board.          There are other states that

      6    don't have EAC-certified systems.           Of course, we're still

      7    seeking to -- Dominion is still seeking to obtain the

      8    certification.      But I did just want to point that out for the

      9    Court as well.

     10                THE COURT:     This is a -- obviously, it is a provision

     11    the EAC has because it is -- no matter whether you call it de

     12    minimis or not, it always obviously raises issues when you

     13    change a piece of software and then you have to redo

     14    everything.

     15                You are obviously all doing testing, and I am glad

     16    that you are doing the testing.          But the fact that you could be

     17    in a place that doesn't require anything is one thing.                But,

     18    you know, we are using a statewide system.             So it has larger

     19    repercussions when you have a statewide system also.

     20                All right.     And so the software -- the new software

     21    is supposed to be distributed today.            And what is the schedule

     22    from -- since you have said you are going forward even without

     23    the EAC approval or without seeing the actual testing

     24    documentation, what is your next plan?            What is going to happen

     25    next?

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      1                MR. MILLER:      Your Honor, it was distributed

      2    yesterday, I think, with the dropoff.            And which also I do want

      3    to briefly mention, you know, we sent an email about the

      4    confidentiality of the dropoff process.

      5                At this point, that is no longer confidential.               It

      6    was the prior to -- you know, it is a schedule of secure

      7    transfer of files that was filed on the public docket.                And so

      8    that is the issue.       I did just want to make sure we don't have

      9    a loose thread there.

     10                But in terms of the process next, the counties will

     11    begin engaging in that logic and accuracy testing that was put

     12    on pause after the last issue was discovered.              And so we

     13    started that.      The counties will also verify the hash value on

     14    the software that was given to them, which has already been

     15    verified by Pro V&V, the hash outside of the system at the

     16    Center for Election Systems, and additionally a hash again

     17    outside of the BMD system before those software was copied to

     18    the drives that were sent to the counties in sealed

     19    envelopes -- sealed, numbered envelopes via the post-certified

     20    investigators connected with the Secretary of State's office

     21    who met their county liaisons at Georgia State Patrol posts.

     22    That was --

     23                THE COURT:     What was verified at the Georgia State

     24    post?

     25                MR. MILLER:      That was where the transfer occurred.

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      1    So when the software was received -- you know, Pro V&V

      2    conducted their verification and validation, provided the

      3    trusted build hash to the Secretary's office.              The Secretary's

      4    office then compared that trusted build hash to the hash of the

      5    actual software they had received outside of the BMD system.

      6                You have heard here before the concept that the BMD

      7    can trick you into saying that the hash is verified.                But,

      8    again, this is wholly outside of the system such that that

      9    is -- that is a separate issue entirely.

     10                After that delivery to the counties, the counties

     11    will also verify the hash and will then conduct their logic and

     12    accuracy testing.

     13                THE COURT:     All right.      All I was asking was when you

     14    said something was verified when they picked it up at the

     15    Georgia State Patrol.

     16                That was just the sealing -- the seal of the

     17    envelope?

     18                MR. MILLER:      Your Honor, yes.      So the envelope was

     19    sealed by -- right, was sealed by the Center for Election

     20    Systems.    And then the investigators of the Secretary's office

     21    met county superintendents at Georgia State Patrol posts.

     22                THE COURT:     Okay.    That's fine.      Have you in any way

     23    expanded the scope of your logic and accuracy testing in light

     24    of these circumstances?

     25                MR. MILLER:      Your Honor, so I think -- I guess I

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      1    would separate it out briefly in that the Center for Election

      2    Systems conducted their own sort of modified logic and accuracy

      3    testing, which I referred to earlier as logic and accuracy

      4    testing within CES, on BMDs that they themselves had that have

      5    never been used in elections to verify that -- first of all,

      6    that that same issue was not recurring but also to continue the

      7    logic and accuracy testing such that -- to confirm that there

      8    were no ancillary issues brought in to do so.

      9                At the time it is sent to the counties, the counties

     10    will then conduct their logic and accuracy testing, which now

     11    also includes before inserting anything into the BMD verifying

     12    that hash number, verifying it is the correct software.                That

     13    is kind of the initial step, which I believe -- I don't have

     14    the letter in front of me.         But we laid out kind of that first

     15    couple of steps of the logic and accuracy testing.

     16                THE COURT:     All right.      But you haven't decided at

     17    this juncture -- to your knowledge that there have been no

     18    change in the logic and accuracy testing protocols or just

     19    going from one electoral race to the next in the machines so

     20    that you don't do the entire ballot on every -- on a larger

     21    number of machines in each of the counties?

     22                And that is the process you-all described, one race

     23    for one and then round-robin.

     24                MR. MILLER:      And I'm not sure I can speak to any of

     25    the -- any detailed adjustments.           What I will say is the

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      1    testing that was done within CES included five different ballot

      2    styles that were chosen from Dekalb County being a county that

      3    would have large ballot styles -- basically, you know, a number

      4    of races, number of different types of ballots on there.                 And

      5    then they were conducted on those different styles and also

      6    conducted on the four different machines and printing out

      7    basically hundreds of ballots to confirm the testing.

      8                THE COURT:     Well, as far as you know, there has been

      9    no -- no one has considered trying to test a larger range of

     10    the ballot -- the full ballot in a larger range of machines as

     11    testified to in -- at the hearing and which was the protocol

     12    that Mr. Harvey indicated was the protocol in his testimony?

     13    Is that right?

     14                MR. MILLER:      Your Honor, as I understand it, the full

     15    ballot is tested on all of the machines.

     16                THE COURT:     That wasn't his testimony.          The testimony

     17    was -- is that one race -- you picked a race.              You went to the

     18    next machine, and it would do the next race.              And then you

     19    would -- if you exhaust the race, which in Georgia you probably

     20    wouldn't exhaust the race, you would start with the next one --

     21    if you had 12 machines, you did the 12 first races.               Then you

     22    would go back to Number 1 machine, and you would go -- and it

     23    would do the 13th race.        Then it would go to Number 2 machine,

     24    and it would do the 14th race.

     25                That is what I'm getting at.          So that, really, you

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      1    have a fraction of the machines that are actually doing the

      2    race at issue.      But it might screw up other races.           So that is

      3    really what I'm trying to get at.

      4                But it doesn't sound like there have been any change

      5    in the process, in any event, from what you know.

      6                MR. MILLER:      Your Honor, I would defer to the

      7    testimony and the written instructions on logic and accuracy

      8    testing.    But yes.     To answer your question, I couldn't comment

      9    as to any sort of very specific minutia within that.

     10                THE COURT:     All right.      I'm really not asking you to

     11    testify yourself as to it.

     12                As far as you know, no one has indicated to you that

     13    they changed any of the --

     14                MR. RUSSO:     That's correct, Your Honor.          As far as we

     15    know, the process is the same as Mr. Harvey has discussed

     16    previously.

     17                THE COURT:     That's all I'm trying to get at.

     18                MR. RUSSO:     You know, with respect to printing the

     19    ballots and each race that we discussed at the hearing, that

     20    hasn't changed.      The only change is with the logic and accuracy

     21    testing are to ensure that the hash value -- check the hash

     22    value of the new software and the version on the front end.

     23                THE COURT:     And does Dr. Coomer know what was -- what

     24    type of testing was done on the software at PV&V?

     25                DR. COOMER:      Your Honor, I'm not sure of the complete

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      1    test plan that they completed.          Again, Pro V&V themselves

      2    determine what test plan is necessary based on their analysis

      3    of the code itself.

      4                THE COURT:     They didn't tell you?

      5                DR. COOMER:      I don't have the details.         I would

      6    just -- I could probably get that.           But I don't have the

      7    details.

      8                THE COURT:     When did they complete it?

      9                DR. COOMER:      I believe they completed that either

     10    late Monday or Tuesday.

     11                THE COURT:     Do you know who was performing the

     12    testing there?

     13                DR. COOMER:      The individual employees' names, no, I

     14    do not.

     15                THE COURT:     I mean, is there a head of the unit that

     16    deals with security or not at this point?             Because we had very

     17    vague testimony of that at the hearing.

     18                DR. COOMER:      I don't know the makeup of Pro V&V's

     19    employees.

     20                THE COURT:     And do you have a backup plan in case, in

     21    fact, there are issues that are arising in connection with

     22    this?    I mean, you are hoping for the best.           You are thinking

     23    the best will occur.       But what -- if there are issues again,

     24    what is the plan?

     25                DR. COOMER:      We'll work with our -- we'll work with

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      1    our partners at the State to do whatever is necessary.

      2                MR. RUSSO:     Your Honor, this issue, as you recall,

      3    came up as a result of this U.S. Senate special election having

      4    too long of a -- too many candidates and the Secretary of State

      5    not wanting to have any candidates claim that they were

      6    unfairly treated by being on the second page because surely

      7    someone would say that by being on the second page they lost

      8    votes.

      9                We are not aware of any other issues with the BMDs

     10    that would change, you know, the processes going forward.                 I

     11    mean, Mr. Barnes conducted logic and accuracy -- his logic and

     12    accuracy testing -- his acceptance testing I should say -- on

     13    the machines.

     14                The machines will go through acceptance testing.               If

     15    anything new is discovered in that process, we'll, of course,

     16    have to address that.        But we have no reason to believe at this

     17    juncture there is anything new since this issue with the

     18    ballot -- the number of candidates being on one screen has been

     19    resolved.

     20                THE COURT:     Dr. Coomer, did you get an opportunity to

     21    read Dr. Halderman's affidavit that was filed that if it really

     22    was just simply only the first time ran on a machine why

     23    wouldn't it have been adequate essentially to address this by

     24    just basically running it the first time?

     25                DR. COOMER:      Well, so there is a

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      1    mischaracterization -- I'm not sure where that came from.                 So I

      2    did not have a chance to --

      3                THE COURT:     Uh-oh.     Everyone put themselves on mute,

      4    and we'll try to --

      5                DR. COOMER:      So I didn't read -- I didn't have time

      6    to read the entire declaration.          But I will say that -- and not

      7    to disparage Dr. Halderman whatsoever.            But he is making

      8    assumptions when he does not have an understanding of the

      9    actual issue.

     10                If I had time and charts and I could work on a

     11    whiteboard, I could explain exactly what the issue is.                But it

     12    is not that it happens the first time.            I said that it only

     13    happens once -- can -- not that it always does -- but can

     14    happen only once during a voting cycle.            And that is a power

     15    cycle of the machine.        It is a rare occurrence that based on --

     16    not just the ballot layout but, you know, the sequence of how

     17    the voters have gone through the ballot.

     18                There are essentially some indexes that are created

     19    by Android operating systems.          And we have an index that we are

     20    referencing.     And if there is a collision between those two,

     21    the issue happens.       And it can only happen once because Android

     22    keeps incrementing these indexes.

     23                So it can only collide once.          And there is a very

     24    specific set of circumstances that leads to this collision.

     25    And it doesn't happen every time.

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      1                Our analysis showed us how to actually reproduce that

      2    deterministically.       So I have seen some other things -- I'm not

      3    sure if it was in Dr. Halderman's declaration or not -- that we

      4    didn't understand the root cause of this and it was

      5    undetermined how and when this could happen.              And those

      6    statements are not correct either.

      7                So this is why we felt very confident in this change

      8    because it is very minimal.         Instead of referencing this

      9    particular ID, we reference it now as what is called a tag.

     10    There is no collision possible between our tag and these

     11    Android IDs.

     12                And then just to hit on this point, you know, asking

     13    what if something else happens, well, this version -- you know,

     14    the certified version that is being used in Georgia has been --

     15    has been used by millions of voters across the U.S.

     16                This is the first time we have seen this issue.               And,

     17    again, it is due to the unique layout to handle the special

     18    Senate contest with the two columns of candidates.

     19                So I just wanted to sort of make that known.              You are

     20    still on mute, Your Honor.

     21                THE COURT:     Can you explain to me what the -- to make

     22    sure I don't misunderstand what you mean by power cycle, is

     23    it -- basically it could happen every time that -- is it when

     24    you turn the power on and then the next time when you turn the

     25    power on?

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      1                DR. COOMER:      Correct.    Yeah.    When you turn the power

      2    off and you turn it back on, Android starts those indexes back

      3    over.

      4                THE COURT:     All right.      Then does it happen each time

      5    just in the beginning or any time in the cycle?              That was the

      6    other part that was a little confusing to me because I had

      7    thought you indicated before or somebody had indicated it was

      8    right at the start of the cycle.

      9                DR. COOMER:      No, it is not right at the start.

     10    Again, it depends on a variety of factors.             So, you know, it

     11    depends on the number of -- the number of display elements that

     12    are on the ballot itself and how the voters walk through.

     13                So it could be -- it could be several voters.              And,

     14    again, it doesn't happen all the time because you have to have

     15    this unique overlap, you know.          And that is wholly dependent

     16    on, you know, the sort of behavior of the voters going through

     17    the ballot of whether they just happened to hit on this unique

     18    circumstance.      But it is not -- it is not necessarily within,

     19    you know, X number of voters.

     20                THE COURT:     Okay.    And it is not -- so if you -- it

     21    is not dependent on the fact that this is the first time

     22    you've -- it is not the first ballot in any event?

     23                DR. COOMER:      Correct.

     24                THE COURT:     It is not the voter who gets -- who is

     25    the first one in line who gets it necessarily?

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      1                DR. COOMER:      Correct.

      2                MR. CROSS:     Your Honor, could I ask a quick

      3    clarifying question?

      4                THE COURT:     Yes.

      5                MR. CROSS:     I just want to make sure I understand.

      6    On Monday, Dr. Coomer said -- he said this happens only once

      7    for one voter during a complete machine cycle.              That was where

      8    Dr. Halderman's understanding was coming from.

      9                So is it right that it is not just once for one voter

     10    during a machine cycle?        It could happen more than once?

     11                DR. COOMER:      No, not during the machine cycle.           When

     12    I say machine cycle, I was referring to power cycle.                So it can

     13    only happen once.

     14                MR. CROSS:     So then why is Dr. Halderman wrong?            Why

     15    couldn't you just power it on?

     16                DR. COOMER:      Because once is not the same as first.

     17                        (Unintelligible cross-talk)

     18                MR. RUSSO:     We are here to answer your questions,

     19    frankly.    Plaintiffs can go do discovery if they would like to.

     20    We are in discovery.       So you can continue to answer for now.

     21    But I did want to raise that before we --

     22                THE COURT:     I think -- Mr. Russo, I appreciate that.

     23    But it was -- I certainly had the impression that Mr. Cross did

     24    too.   So I'm very happy that Dr. Coomer is explaining it.

     25                So if Mr. Cross had a misunderstanding too, then I

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      1    think he is entitled to try to --

      2                MR. RUSSO:     And that is fine.       I just wanted to make

      3    sure before we got too far down this road that I raised this.

      4                THE COURT:     All right.

      5                MR. CROSS:     So, Dr. Coomer, all I was asking you:                It

      6    will happen only once in a power cycle, but you don't know when

      7    it will happen, meaning you couldn't just do a single test

      8    ballot?    You would have to do test ballots until it happened

      9    the one time and then you --

     10                DR. COOMER:      Right.    And, again, to be clear, it

     11    doesn't always happen.        Right?    It is this unique way of going

     12    through the ballot.       So you could -- you could say, oh, I'm

     13    going to wait until this happens and it never happens because

     14    you have passed those conditions.

     15                MR. CROSS:     Got it.     Okay.    Thank you.     That is

     16    really helpful, Dr. Coomer.

     17                DR. COOMER:      Sure.

     18                THE COURT:     So -- and maybe one has to have

     19    Mr. Barnes here or someone else from the department present.

     20    So I'm just trying to understand how the logic and accuracy

     21    testing that is being performed at this juncture mirrors

     22    that -- those conditions since it is not necessarily the first

     23    time it has been done.

     24                What were -- what are the instructions to make sure

     25    that it doesn't happen, partially because, you know, the point

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      1    really is the size -- the vote should be counted properly is

      2    you just don't -- it could -- there are repercussions if it

      3    does in terms of people getting confused at the polls and other

      4    sorts of problems that can happen there that it triggers -- the

      5    people are worried about their votes and one comes to a halt,

      6    et cetera.

      7                MR. CROSS:     Your Honor, could I ask one more

      8    question?

      9                Dr. Coomer, you mentioned that you could do -- you

     10    figured out a way to do it deterministically, which means you

     11    could trigger it.       Would that work to -- rather than doing new

     12    software, could the counties trigger it using this

     13    deterministic approach?        Then you could trust it wouldn't

     14    happen again with the existing software.             Would that be a fix?

     15                DR. COOMER:      I mean, that is -- theoretically, that

     16    is possible because it depends on, again, a lot of variables.

     17    So each -- you know, obviously each county and each machine

     18    has -- may have a different set of ballots on there.

     19                So like -- so what we did is -- obviously, this was

     20    identified in two counties.         And we know the ballot styles that

     21    they were testing in those counties.            So we zeroed in on that

     22    and found a way using those two projects how to make it happen.

     23                We would have to do that for every machine in every

     24    location because it is dependent on the ballots that are in

     25    that machine to then want to determine whether you could make

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      1    those IDs collide.

      2                Does that -- does that clarify?           That would be,

      3    again, theoretically possible.          A nightmare.      And then that

      4    whole process would have to be done every time the machine is

      5    turned on.

      6                THE COURT:      Let me start this way simply:         You-all

      7    did some logic and accuracy testing yourself when you were

      8    trying to do the software modification?

      9                DR. COOMER:      Oh, extensive testing.        Extensive.

     10                THE COURT:      All right.     How did you modify -- how did

     11    you do it so that -- in light of these circumstances in terms

     12    of the protocol so that you would -- it would be at least

     13    randomly captured?

     14                DR. COOMER:      Right.    So -- well, the first thing we

     15    did is obviously analyze the projects where it was -- where the

     16    issue arose.     And that led us to figuring out what the root

     17    problem was.

     18                Then our initial testing was we actually set up a

     19    quick project where -- knowing how the code behaved we knew

     20    exactly the steps to take within a few clicks to make this

     21    issue happen.      Right?    And so we set that up, verified on

     22    multiple machines that we could make it happen according to

     23    step A, B, C.

     24                So then we applied the change and then redid those

     25    steps, verified that that issue no longer arose, and then we

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      1    took that back to, you know, the actual -- some of the actual

      2    real Georgia elections that would be tested and ran full

      3    regression tests over several days to verify that nothing else

      4    was impacted.

      5                THE COURT:     You ran full regression tests to

      6    determine what?      I didn't hear the last part of your sentence.

      7                DR. COOMER:      That no other functionality was

      8    impacted.

      9                THE COURT:     So have you made any recommendation to

     10    the State regarding any additional measures that should be

     11    taken in order to test the functionality of both the fix as

     12    well as that it didn't impact anything else?

     13                DR. COOMER:      So I don't -- I don't know all of the

     14    information that was communicated to the State.              But I believe

     15    we did -- again, as I mentioned, we had those two counties

     16    where we -- you know, where the issue was experienced.                We know

     17    how to make it happen in those two counties.              I believe we

     18    provided those steps to the State for verification.               But,

     19    again, I'm not the one that is actually communicating the

     20    operational aspects directly with the State.

     21                And then as far as the other functionality again, the

     22    pre-logic and accuracy testing process we feel is enough to

     23    verify that the system as a whole is still functioning as it

     24    should.

     25                THE COURT:     Let me just say that in your testimony

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      1    before this Court you indicated that you had not been aware

      2    that -- that the full ballot had been tested in each machine.

      3                So I guess would it be wise to have more of the full

      4    ballot tested in every machine?          I mean, for instance, among

      5    other things, this particular race?

      6                DR. COOMER:      I'm not sure -- I'm not sure I'm

      7    following.     But, again, you know, the logic and accuracy

      8    testing that I'm aware of from the State I believe is adequate.

      9                THE COURT:     I don't want to get into a

     10    cross-examination with you myself about that.              But you do

     11    understand that there is only a small fraction of the machines

     12    each that are tested for -- for instance, as to this particular

     13    race that are going to be out in the field?

     14                DR. COOMER:      Again, I don't -- I don't know every

     15    single detail of the L&A that they are doing.

     16                THE COURT:     All right.      That is fine.     Then we'll

     17    just -- we'll stop at that then.

     18                Mr. Russo and Mr. Miller, is there anyone who is

     19    familiar with the -- what the instructions have been to the

     20    field with the State available just to talk for -- speak for a

     21    minute or two?

     22                I know Dr. Coomer has to leave in four minutes.               So

     23    before we do that, I want to make sure that there is not

     24    anything else that counsel wish for Dr. Coomer to address.

     25                MR. BROWN:     Your Honor, this is Bruce Brown.           I have

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      1    one question for Dr. Coomer.

      2                Our information is that the version of the software

      3    that was certified was .30 and the current version is .32.

      4                What was .31, and what is .32?           And have the

      5    incremental changes from the various versions been tested,

      6    certified, or approved?

      7                MR. MILLER:      Your Honor, we're just going to raise

      8    the same objection earlier as far as cross-examination of the

      9    witness right now.

     10                THE COURT:     Well, I think it is --

     11                DR. COOMER:      Version numbers change for a variety of

     12    reasons.    I'm not even sure what that question is trying to get

     13    at.

     14                THE COURT:     Well, it is trying to understand if there

     15    have been software change or some other change between the

     16    5.5-A, I guess, .30 and 5.5-A.32, which this is.               In other

     17    words, what happened -- do you know what was .31?

     18                DR. COOMER:      There is absolutely no other change than

     19    the one we supplied that we alluded to.

     20                MR. BROWN:     So why are there two version numbers?

     21                DR. COOMER:      There is not two version numbers.           There

     22    are a variety of reasons why when you do a build a version

     23    number turns out the way it does.

     24                I don't know what you are digging at.            But I can tell

     25    you -- I can state as fact -- and I just did -- that the

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      1    only --

      2                MR. MILLER:      Your Honor --

      3                DR. COOMER:      -- between those two builds is this

      4    change that we submitted.

      5                THE COURT:     All right.

      6                MR. BROWN:     So there is not a version 31?

      7                        (Unintelligible cross-talk)

      8                MR. MILLER:      Your Honor, we just reraise the same

      9    objection.     Dr. Coomer is here voluntarily right now.             Dominion

     10    is not a party to this.        He is trying to be helpful to the

     11    Court.    And we are going down a path of cross-examination

     12    again.

     13                MR. CROSS:     Why are they scared to answer questions?

     14                THE COURT:     All right.      No more commentary, let me

     15    just say.     My understanding --

     16                DR. COOMER:      I'm not scared to answer your questions.

     17                THE COURT:     All right.

     18                MR. CROSS:     I wasn't talking to you, Dr. Coomer.

     19                THE COURT:     My understanding just from what

     20    Dr. Coomer said was very -- there were a lot of people

     21    speaking -- is that Dr. Coomer said that there was no separate

     22    change from the 5.5-A that has been made so that there is -- to

     23    the extent the other one had a .30, there was no .31 separate

     24    change.

     25                DR. COOMER:      That's correct.

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      1                THE COURT:     Is that correct?

      2                DR. COOMER:      That's correct.

      3                THE COURT:     All right.      Fine.   Thank you.     Is there

      4    anything else?

      5                All right.     Doctor, you are welcome to stay as long

      6    as you want to stay.       But I understood that you had a hard

      7    deadline.

      8                DR. COOMER:      Yeah.    I do have a hard stop, and I do

      9    appreciate that.

     10                THE COURT:     All right.      Thank you very much.

     11                MR. CROSS:     Thank you, Dr. Coomer.

     12                THE COURT:     Is it Mr. Barnes who is giving directions

     13    to people in the field about the L&A testing at this point?

     14                MR. RUSSO:     I think Mr. Barnes would be the best

     15    person to try to answer your questions.            He is involved with

     16    the development of logic and accuracy testing.

     17                THE COURT:     All right.      Is he --

     18                MR. RUSSO:     We're going to -- if you can give us one

     19    minute here to get in touch with him.

     20                THE COURT:     That is fine.

     21                        (There was a brief pause in the proceedings.)

     22                THE COURT:     Good afternoon, again, or good morning.

     23    Morning, Mr. Barnes, also.

     24                I just -- we were discussing the circumstances around

     25    the software being distributed and subject to logic and

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      1    accuracy testing again.        And I wanted to find out whether there

      2    were -- to your knowledge, whether there were any additional

      3    instructions about conducting logic and accuracy testing that

      4    was given to any -- all or any of the counties relative to the

      5    software.

      6                MR. BARNES:      The one additional instruction was for

      7    the counties to verify the new hash signature for the new

      8    version number of the ICX application.

      9                THE COURT:     And therefore am I to assume that there

     10    were no -- there was no other modification and in particular

     11    there was no expansion as to the number of the ICX machines

     12    that were going to be tested for purposes of looking at that

     13    race in particular or any other races?

     14                MR. BARNES:      Again, we did not give them another list

     15    of instructions to follow for their L&A testing.               Part of their

     16    normal L&A testing is to check every vote position on every

     17    ballot as they go through the ballot style.             And that is how

     18    the occurrence was found with the old version.              So we were just

     19    going to have counties follow the same protocols with the new

     20    version.

     21                THE COURT:     Mr. Harvey had confirmed before though

     22    that the instructions were that you would run the ballot --

     23    let's say -- let's -- just consider that there were ten

     24    machines, let's say, that were being tested.              That you would

     25    run race Number 1, which would presumably be the presidential

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      1    race, on Number 1 machine.         Then you would run race Number 2 in

      2    priority on machine Number 2.          And when you had finished the

      3    ten, then you would go back -- the 11th race would be tested

      4    again -- would be tested on the machine Number 1 again.

      5                Is that something different than you know of?

      6                MR. BARNES:      No.   What my understanding of the L&A

      7    procedure is is the ballot is loaded on to the L&A -- on to the

      8    test screen ballot.       And then the first race of the ballot is

      9    displayed.     And then on that race, they will mark each -- they

     10    will touch the first candidate, validate that the mark is

     11    there; proceed to the next race on the ballot; mark the

     12    candidate, make sure it is there; and proceed all the way

     13    through the ballot until they arrive to the summary screen.

     14    And they validate that they see those selections on the summary

     15    screen.

     16                They then backtrack.        Go back to the first race in

     17    the ballot, remove the mark from the first candidate, and then

     18    mark the second candidate in that race and proceed through the

     19    ballot again all the way through the summary screen.

     20                And this is done to make sure that every vote

     21    position is responsive and that the system shows that summary

     22    selection at the end.        They will produce one printed ballot

     23    through that exercise with at least one of those candidates per

     24    contest marked.      But they won't produce a ballot for every

     25    instance, for every candidate in every race on every machine.

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      1    They will just produce one printed ballot at the end of that

      2    test of that particular BMD.

      3                THE COURT:     And have you looked at the instructions

      4    that were given in January via Mr. Harvey's office?

      5                MR. BARNES:      Yes, ma'am.

      6                THE COURT:     And that is what you think is consistent

      7    with what -- what you have described is consistent with the

      8    protocol described?

      9                MR. BARNES:      Yes, ma'am.

     10                THE COURT:     Well, let me walk through it again.

     11    Because that certainly was not my understanding from the

     12    testimony provided or from the observations that were provided

     13    by people at the -- observers at the polling.

     14                So I'm not -- so you are saying basically the member

     15    of the staff who was testing it will go in and vote on the

     16    presidential race?       And just walk me through it again so I can

     17    stop you now that I have heard the whole -- what you think is

     18    supposed to happen.

     19                MR. BARNES:      Okay.    So we'll take it as a single

     20    race, single -- single ballot, single race.             And we will say

     21    the presidential race, which has four candidate options.

     22                On the testing, they would load the ballot, bring up

     23    the contest that shows the four -- the four contestants.                 They

     24    will mark the first contestant and then leave that screen and

     25    go to the summary screen to validate that that mark is showing.

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      1                They would then go back to the race itself, remove

      2    the mark, and then put a mark for the second candidate and then

      3    proceed back to the summary screen, confirm that that is

      4    showing.    Go back again to the ballot, remove the mark, mark

      5    the third candidate in the race, proceed to the summary screen,

      6    confirm that is showing.         And then go back to the race, remove

      7    the mark of the third candidate, put a mark for the fourth

      8    candidate, which is the write-in, type in some form of a name,

      9    proceed to the summary screen, verify again that that is

     10    showing.

     11                Then they would backtrack, go back to the race

     12    itself, remove the mark, go to the summary screen, verify that

     13    that mark again is not showing.          Then go back to the race.         And

     14    now they are going to put a mark on the ballot so that they can

     15    produce a printed ballot from the machine.

     16                And they may select the first candidate or second

     17    candidate or third candidate depending on what they are needing

     18    to produce for their test deck.          So they may do the first

     19    candidate and then proceed back to the summary screen and then

     20    print the ballot.

     21                THE COURT:     So is the printed ballot the one with all

     22    of the choices?

     23                MR. BARNES:      The printed ballot will only have the

     24    one selection made at that last operation.             The ballot can only

     25    have one mark for the race.

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      1                THE COURT:     I don't -- because I don't know

      2    whether -- is anyone with you from -- are you able to receive

      3    an email if I send counsel the L&A procedure -- January

      4    procedure and they sent it to you at this point?

      5                MR. BARNES:      Yes, ma'am.     I have access to email.

      6                THE COURT:     I don't want to be the person directly

      7    sending it to you.       But -- all right.       But if counsel doesn't

      8    have it directly offhand, Ms. Cole can send it to one of you

      9    right away so you can send it on.

     10                Send it both to Mr. Miller and Mr. Russo.

     11                LAW CLERK COLE:       Okay.    I can also send it to Harry,

     12    and he can share it on the screen.

     13                THE COURT:     Okay.    Why don't we do both?        Why don't

     14    we send it because it is harder for -- let's do both and give

     15    Mr. Barnes an opportunity to look at it.             All right?

     16                        (There was a brief pause in the proceedings.)

     17                MR. BARNES:      I haven't received anything as of yet.

     18                LAW CLERK COLE:       Mr. Martin has it now if you want

     19    him to share his screen.

     20                THE COURT:     I want Mr. Barnes to be able to review it

     21    without having to see it on the screen first.

     22                MR. RUSSO:     My email might be running a little slow.

     23    So I emailed it.      So it is just a matter of --

     24                THE COURT:     That is fine.

     25                Ms. Cole, can you pull up Mr. Harvey's affidavit

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      1    also?

      2                LAW CLERK COLE:       Yes.

      3                MR. RUSSO:     Do you know what docket number that is?

      4                THE COURT:     Well, the affidavit?

      5                MR. RUSSO:     Yes, ma'am.

      6                LAW CLERK COLE:       My recollection is it is 834-3.

      7                MR. RUSSO:     Thank you.      I was just trying to look

      8    through the transcript for that explanation.              I was not finding

      9    it.    I appreciate that.

     10                MR. CROSS:     Do you mind forwarding that document that

     11    Ms. Cole sent you so that I can pull it up too?

     12                MR. RUSSO:     Yes.

     13                MR. CROSS:     Thank you.

     14                THE COURT:     Does everyone have the procedure?

     15                Mr. Barnes, you don't have it still?

     16                MR. BARNES:      No, Your Honor, I do not.

     17                THE COURT:     Mr. Russo, did you send it?

     18                MR. RUSSO:     I did.     Let me try again.

     19                THE COURT:     Okay.    Very good.

     20                MR. MILLER:      I think we both actually sent it.

     21                THE COURT:     All right.

     22                        (There was a brief pause in the proceedings.)

     23                THE COURT:     All right.      Mr. Barnes, did you get it

     24    yet?

     25                MR. BARNES:      Yes, Your Honor.      I just received it.

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      1                THE COURT:     Very good.      Let me give you an

      2    opportunity -- I'll give you the opportunity to read the

      3    portion that deals with the process for looking -- testing the

      4    polling place scanner, that one -- I'm sorry -- right above it,

      5    testing the BMD and printer.

      6                And have you had an opportunity to look at that, that

      7    Section D?

      8                MR. BARNES:      Yes, ma'am.     I'm reviewing that.

      9                        (There was a brief pause in the proceedings.)

     10                MR. BARNES:      Your Honor, I've read it.

     11                THE COURT:     Thank you very much.        So my understanding

     12    both from Mr. Harvey's testimony on this particular procedure

     13    and what the witnesses to the L&A testing observed when they

     14    were able to observe this in a -- because it was public was

     15    that the description provided in the text under -- in

     16    connection with the word example was what was occurring, that

     17    there was not -- every race was not in a particular ballot --

     18    ballot machine -- every race that was listed on the ballot was

     19    not, in fact, tested on that one machine.             That, in fact, it

     20    was -- you went from machine to machine as described under the

     21    word example.

     22                MR. BARNES:      My -- excuse me.

     23                THE COURT:     Yes.    Go ahead.

     24                MR. BARNES:      My reading of the document outlines that

     25    the ballot style will be displayed on, we'll say, machine one

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      1    and that the process of creating the ballot that is going to be

      2    used for the test deck for machine one would be that the --

      3    that the operator would select the first candidate not for just

      4    one race but the first candidate in every race on that ballot,

      5    proceed through the whole ballot, and then at the end would

      6    then print that one ballot that had the first candidate

      7    selected.

      8                So that the machine one would have ballot style one

      9    and then it would have the selection of the first candidate in

     10    every race selected and print it.

     11                On the second machine, the ballot would be loaded.

     12    And then from that machine, the ballot that would be printed

     13    for the test deck would be the second candidate in each race.

     14    And then that ballot would be printed for the test deck.

     15                And then they would go to machine three, load the

     16    ballot.    And on this one, the ballot that would be produced for

     17    the test deck would be the third candidate in each race within

     18    that ballot and so forth and so on.

     19                THE COURT:     Well, that certainly is somewhat

     20    different than my understanding the testimony and evidence.

     21    And -- but I understand what you are saying.

     22                What is the -- so just to summarize again is that you

     23    understood that if I -- whoever was Number 3 in each race would

     24    have been picked -- if you were on the third machine, you would

     25    have picked Number 3 -- the candidate in the third position for

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      1    every single race?

      2                MR. BARNES:      Yes, Your Honor.

      3                THE COURT:     And what if there wasn't a candidate?

      4                MR. BARNES:      If there is not a third -- if one race

      5    has four candidates but the second race only has two

      6    candidates, then you do not make a selection at all.                You would

      7    skip.    There is not a third option to choose.            So you would

      8    leave that race blank.

      9                THE COURT:     Then you would continue down the ballot?

     10                MR. BARNES:      Yes, Your Honor.

     11                THE COURT:     I think this is sufficiently a material

     12    change in the way that perhaps it has been presented.                I'm not

     13    saying anything -- that you are wrong in any way or -- but I

     14    just think that I would like to make sure there is nothing that

     15    the plaintiffs want to ask in light of that testimony.

     16                And have you observed this yourself or not?

     17                MR. BARNES:      I have not been in the field to observe

     18    the L&A testing with the new system, Your Honor.

     19                THE COURT:     All right.      So you haven't been in the

     20    field to observe their application of this procedure?

     21                MR. BARNES:      That's correct.

     22                THE COURT:     All right.

     23                MR. RUSSO:     Your Honor, I pulled up Mr. Harvey's

     24    declaration, and I'm looking at that.            And he seems to indicate

     25    that all -- that testing the ballots -- a test deck where you

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      1    use every permutation would be overly burdensome and

      2    unnecessary, as the Coalition plaintiffs urge, in other words,

      3    to generate test ballots so that all candidates in all races

      4    within the unique style have received a single vote.

      5                I think maybe that is where some confusion is coming

      6    into play.     And I think Mr. Harvey was under the impression --

      7    and his declaration seems clear to me.            But to the extent there

      8    is some confusion that maybe you thought every permutation on

      9    the ballot maybe had to run a test deck with every combination,

     10    is that -- and I'm just maybe trying to understand it also

     11    myself -- where the disconnect is here, frankly.

     12                THE COURT:     Mr. Skoglund was, I think, the

     13    Coalition's witness or -- is that right?             Or was he Mr. Cross'

     14    witness?

     15                MR. CROSS:     Mr. Skoglund was a witness for the

     16    Coalition.

     17                THE COURT:     Okay.

     18                MR. BROWN:     I'm sorry, Your Honor.

     19                THE COURT:     So I'm assuming that you spent some more

     20    time -- particular time on this, Mr. Brown.

     21                So are there any -- anything you want to point out or

     22    ask Mr. Barnes about?

     23                MR. BROWN:     Thank you, Your Honor.         My question would

     24    be, sort of to cut to the chase -- and that is:              On the logic

     25    and accuracy testing as described by Mr. Barnes, all of the way

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      1    through tabulation, there is only one ballot that is actually

      2    tested and that the other testing that Mr. Barnes described was

      3    testing the accuracy of the summary screen rather than the

      4    accuracy of the final output.

      5                Is that correct, Mr. Barnes?

      6                MR. BARNES:      What I was describing was the generation

      7    of the test deck that has to be generated at the end of the L&A

      8    testing.

      9                THE COURT:     Wait a second.       I think we should put

     10    ourselves on -- everyone but you on mute so that we make sure

     11    that we --

     12                Go ahead.

     13                MR. BARNES:      Again, what I was describing was the

     14    generation of -- it is two parts.           It is the L&A test to

     15    validate display of ballot operation of the touchscreen being

     16    receptive to touch and then the generation of the record from

     17    each device that is used to organize the test deck that is then

     18    scanned by the scanner.

     19                So the tester wants to go through and look at each

     20    race on the ballot, make sure that all the candidates are

     21    displayed, make sure that all candidates are receptive to

     22    touch, and take that all the way to the end of the summary

     23    screen.    And then they back out and continue that through all

     24    positions.

     25                But when they have completed that, they have to

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      1    produce a record.       But they are only required to produce one

      2    printed record from that BMD.          And then they accomplish to get

      3    all positions voted and a vote registered by doing the machine

      4    one, the machine two, the machine three through the ballot

      5    style.

      6                MR. BROWN:     Thanks.

      7                MR. CROSS:     Your Honor, could I ask a follow-up

      8    question?

      9                Mr. Barnes, did I understand you right so if you've

     10    got -- well, let's just take a concrete example.               There is a

     11    Senate race this year that has, as we understand it, it sounds

     12    like 20 or so candidates.

     13                So that means you would generate a test ballot that

     14    has -- you would generate a separate test ballot for each of

     15    those candidates on however many machines correspond.                Right?

     16                So let's say there are 20 candidates.            You would

     17    generate 20 separate test ballots on 20 consecutive machines

     18    selecting each candidate in turn.

     19                Do I have that right?

     20                MR. BARNES:      What you would do -- let's say that

     21    there are -- let's say that there are 20 machines.               We'll make

     22    a balanced number.       Let's say -- actually we'll say there are

     23    10 machines and there's 20 candidates.

     24                Then you will start with machine one, check all the

     25    races, check all of the candidates, make sure they are

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      1    responsive.     But when you are done with that machine, at the

      2    end of that machine, you would select the first candidate in

      3    that Senate race and produce a ballot printout.

      4                Then you would go to the second machine.             The second

      5    machine, again, you would check the full race, check all

      6    positions, check responses.         But when you are done with that,

      7    you would produce one ballot from the second machine and that

      8    would have the second candidate.

      9                And you would repeat that process through those ten

     10    machines.     When you got to the 11th candidate, you would be

     11    returning back to machine Number 1.           And on machine Number 1,

     12    you would now select -- again, you have already looked at all

     13    of the candidates again already.           So on that machine, you are

     14    going to produce a second ballot.           And that second ballot is

     15    going to have the 11th candidate selected.

     16                And then you will continue to proceed in that manner

     17    until you have produced a record that -- a vote record that has

     18    every candidate in that race voted one time.

     19                MR. CROSS:     And if you have got -- if the other

     20    elections have fewer candidates -- right?             So let's say you are

     21    at candidate 6 out of the 20 and all of the other races have

     22    fewer than 6 candidates, at that point forward, you would not

     23    have any candidates selected on those races for the test

     24    ballots?

     25                MR. BARNES:      That's correct.

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      1                MR. CROSS:     So that would mean if we have got a race

      2    this year of, say, 20 or so candidates, you would have a pretty

      3    large number of test ballots coming out of machines that have

      4    no candidate selected for some of those races?

      5                MR. BARNES:      That would be correct.

      6                MR. CROSS:     Thank you.

      7                THE COURT:     Just state that again, what you were

      8    saying, Mr. Cross.

      9                MR. CROSS:     Because this year we've got a Senate race

     10    that has a large number of candidates -- it sounds like 20 or

     11    more -- and because once you get over -- say the next highest

     12    number of votes is -- I'm trying to think of the easiest way to

     13    say what I just said.

     14                Once you get over the next highest number of -- say

     15    every other race had two -- only two selections.               Right?    Once

     16    you get to the race that has three or more candidates, you stop

     17    selecting any candidates in all of those other races.                You

     18    don't go back and just select one that you have already

     19    selected.

     20                So that means once you get to 3, 4, 5, 6, on up

     21    through 20-something candidates when you are testing it, all

     22    the other races on the ballot would have no selections on any

     23    of those test ballots for all of those machines.               So you would

     24    be going machine to machine to machine.

     25                THE COURT:     You are only going by position number.               I

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      1    see.

      2                MR. CROSS:     So with this particular year with a race

      3    with that many selections -- you are talking a pretty large

      4    number of BMDs that would have test ballots with only a single

      5    candidate selected, which then gets printed and tabulated.

      6    Those BMDs would not have test ballots for candidates for all

      7    but one race.

      8                MR. RUSSO:     I mean, there's always going to be

      9    elections where you only have maybe one person in a race.                 So,

     10    Mr. Barnes, that is what you would do, for example, if you had

     11    a county commission race also on the ballot and you've got one

     12    person in that race.       Right.     You would put that -- you could

     13    check that person off the first -- on the first test ballot.

     14    But going forward -- I mean, there is going to be other

     15    contested races, of course.         You know, maybe you have a house

     16    race, a state house race with three candidates.              So you have

     17    got to go through those three times.            But the county commission

     18    race with only one candidate would only have -- be selected the

     19    first time through.

     20                MR. BARNES:      Correct.    Correct.     And if --

     21                MR. RUSSO:     We have had this happen in every

     22    election.

     23                THE COURT:     Well, I'm not sure that really helps

     24    because, of course, when you have only a single -- a single

     25    individual then they are in position one.             So they are going to

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      1    be tested -- those races are all going to be counted as

      2    position one.

      3                The problem here we have is position -- the fact that

      4    there might not be any others races that have Position 10 and

      5    so -- or Position 8.       So that basically in the very race that

      6    sort of seemed to have -- on the ballot that had created a

      7    quirk, you are going to have the least amount of L&A testing --

      8    that's all -- in terms of output.

      9                MR. CROSS:     Well, yeah.      I'm not sure that is quite

     10    right, Your Honor.       Let me back up.

     11                They will test every candidate in that Senate race.

     12    So that particular race that has a large number of

     13    candidates -- right? -- that will get tested.

     14                What it means is that for all of those ballots

     15    beyond, say, the first three or four candidates, depending on

     16    what else you have there, there will be no L&A testing for any

     17    of those other races.

     18                THE COURT:     Right.

     19                MR. RUSSO:     Well, they are tested the first time.                I

     20    mean, I think we are saying the same thing.

     21                MR. CROSS:     No.    No, they are not.       What Mr. Barnes

     22    is saying is there is no ballot that will be printed at all

     23    from those BMDs that gets printed and scanned and tabulated

     24    that has any candidate selected from any race other than the

     25    Senate race once you get beyond the max number of candidates in

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      1    those other races.

      2                And given a lot of those races are only going to have

      3    maybe 2 or 3 candidates but we have got a race with 20 or more,

      4    you are talking about maybe 50 to 20 machines each time that

      5    are not having a single candidate tested to get printed and

      6    scanned and tabulated.

      7                MR. RUSSO:     I understand what you are saying.           But

      8    you would have had -- that person who is -- you know, if it is

      9    a race of three people, you would have had a test ballot that

     10    would have had that person -- the third ballot would have been,

     11    you know, in this example that you gave a race of three people.

     12                Now, when you get to person four -- Mr. Barnes can

     13    explain it.     And if I'm wrong, I'm wrong.          Mr. -- I'll let

     14    Mr. Barnes explain it.

     15                MR. CROSS:     Because once you get to selection --

     16    again, Mr. Barnes, I thought I -- let me just try my question

     17    again.    I thought we had it straight.

     18                Let's say the maximum number of candidates on a

     19    ballot was 4.      That is the most you have in any race is 4,

     20    except for you have got the Senate race, let's say, that has 20

     21    candidates.

     22                Are you with me?

     23                MR. BARNES:      Yes.

     24                MR. CROSS:     Once you get to selection five to test

     25    that, meaning printing a ballot and scanning it, in the Senate

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      1    race, you are going to do that and that ballot is not going to

      2    have any other candidate selected for the test ballot; right?

      3                MR. BARNES:      On that ballot style.        But when there

      4    are multiple ballot styles within the polling location, once

      5    you complete ballot style one, you then have to do the same

      6    thing for the next unique ballot style within that -- within

      7    that polling location.        So there is opportunity for more

      8    ballots to be generated with more selections.

      9                MR. CROSS:     Right.     But most -- particularly on

     10    election day -- putting aside early voting, on election day,

     11    most of your ballots -- most of your polls are going to have a

     12    single ballot style; right?         Otherwise, you are talking about a

     13    polling site that has multiple precincts.

     14                MR. BARNES:      There is -- every precinct in the state

     15    is different.      Some only have one ballot style.          Some have

     16    many.    It is a potpourri out there.

     17                MR. CROSS:     But with my example, you would have --

     18    unless you are printing multiple ballot styles on that BMD, you

     19    are going to have selections -- you are going to have machines

     20    five through -- you are going to have 15 machines -- remaining

     21    5 to 20, you are going to have 15 machines for which your test

     22    ballot has only a single selected candidate just in that Senate

     23    race; right?

     24                MR. BARNES:      The ballot that is printed for the test

     25    deck, yes.     But every position would have been looked at on

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      1    that ballot during the examination.

      2                MR. CROSS:     On the screen?

      3                MR. BARNES:      Correct.

      4                MR. CROSS:     And looking at the screen does not tell

      5    you what actually gets tabulated; right?

      6                MR. BARNES:      The screen is the interaction and the

      7    intent of the voter.       The ballot is what will be the official

      8    record.

      9                MR. CROSS:     Right.     So --

     10                THE COURT:     And the next step is, of course, the

     11    scanner tabulator?

     12                MR. BARNES:      Correct.

     13                THE COURT:     And you can't really test that just from

     14    looking at the screen?

     15                MR. BARNES:      Again, that is why we produce the record

     16    from the machine so that the scanner can also be used to

     17    validate that what is coming from the system is what the

     18    scanner then tabulates.

     19                THE COURT:     I think that the -- I mean, I'm not sure

     20    that what is happening in the field is what you are describing.

     21    But, you know, I'm just -- based on what the evidence is and

     22    the way that Mr. Harvey described it but -- and why he thought

     23    everything else was too burdensome.

     24                But that is -- you know, I understand what you are

     25    saying at this juncture.         I mean, I'm looking at my -- at a

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      1    sample ballot here.       And -- and basically when we get down to

      2    number -- where we were actually thinking of four candidates,

      3    we get down to the fifth one, only one of the major leaders

      4    here who is in that first top four is Doug Collins.

      5                So all the testing that would relate to other --

      6    identified at least by the polls leaders in this race are after

      7    Number 4.     So testing of their -- any ballot, including them,

      8    would be -- it would be fewer.          But that is if it is, in fact,

      9    the way it is indicated.

     10                I'm just looking at Paragraph 6 of Mr. Harvey's

     11    affidavit and also testimony.          And I can't really know at this

     12    point that what Mr. Barnes describes based on the testimony and

     13    the evidence presented is exactly what is happening.

     14                But, Mr. Skoglund, did you get an opportunity to be

     15    present during any of the L&A testing?            Remind me.

     16                MR. SKOGLUND:      No, Your Honor, I have not been

     17    present for any of it.

     18                Can I offer a thought about this?

     19                THE COURT:     Yes.

     20                MR. SKOGLUND:      So I think that, as I testified

     21    before, you know, logic and accuracy testing depends on what

     22    questions you are asking.         Right?    And the quality of the

     23    question you ask depends on the quality of the test.                So it

     24    really makes sense to think about what questions you are

     25    asking, what are you trying to find out.

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      1                And I think, you know, this is -- this is more logic

      2    and accuracy testing that some jurisdictions do.               But I think

      3    that is not the standard.         I think the question is:        Does it

      4    meet Georgia statute, which I think is quite good and quite

      5    strong?    I would go further, if it were me.

      6                I think that the way I would do -- conduct a logic

      7    and accuracy test and the way I have seen other people do it is

      8    you create a spreadsheet essentially ahead of time with the

      9    test pattern for votes for what you plan to do.              And in that,

     10    you try overvotes and undervotes and races where you vote for

     11    two and the audio ballot and trying it in Spanish language.

     12    And, you know, you try a variety of scenarios.

     13                And then, you know, knowing that you have good

     14    coverage in that spreadsheet, then you go to the machine and

     15    ask each machine to accomplish that set of tests.               That is

     16    closer to what I think the Georgia statute requires.

     17                THE COURT:     Well, I just would like to know what is

     18    actually going to be -- and whether everyone is going to be

     19    doing something different actually.           That is my concern at this

     20    juncture but -- based on the evidence introduced.

     21                But the other thing was simply because this was the

     22    -- the alleged tweak that involving this particular ballot one

     23    would really want to know it was -- all permutations of that.

     24                It is hard for me to know without -- what I do know

     25    is what -- the issue that Mr. Cross elicited.              And it might

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      1    behoove the State to consider whether to modify at least this

      2    in a way -- whatever the process is, if it is, in fact, like

      3    what Mr. Barnes describes as opposed to the inference that was

      4    given from the procedure as I identified and witnessed by

      5    others who were watching the L&A testing in the last election,

      6    it really behooves everyone to think about is there something

      7    you want to beef up under the circumstances since you have a

      8    software change particularly affecting that race.

      9                I can't really say more at this juncture.             I'm going

     10    to go back and look.       But there's really some material

     11    differences between the way Mr. Barnes described it and the way

     12    it was otherwise described.

     13                MR. MILLER:      Your Honor, I don't have the transcript

     14    in front of me from the hearing, so I can't speak exactly of

     15    Mr. Harvey's testimony.

     16                But as far as the declaration and as I recall the

     17    hearing, I think the concept was the concept that Mr. Barnes

     18    described of the difference between printed ballots versus the

     19    test on the screen.       And so I don't think there is --

     20                        (Unintelligible cross-talk)

     21                MR. MILLER:      -- necessarily inconsistence there but

     22    different topics.

     23                THE COURT:     Yeah.    I mean, there is no question that

     24    it was supposed to be getting at the difference as to whether

     25    there was a difference between the way it tabulated and the way

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      1    it printed and the ballot.

      2                But it was -- but it was much more helter-skelter

      3    because -- as opposed to just testing one office per machine

      4    and sometimes more depending on how large the ballot was.                 So

      5    that -- I mean, that is exactly what -- not just through

      6    Mr. Harvey's testimony but through the affidavit of people who

      7    were witnessing it.

      8                So, Mr. Harvey, are you -- is Mr. Harvey in charge of

      9    giving you instructions or -- I gather?            Are his folks out in

     10    the field at all, or is it -- I'm not -- or is it your folks

     11    who are doing the L&A testing?          I mean Mr. Barnes.

     12                I mean, it is somebody from the county.             But who is

     13    the technical adviser, if there is anyone?

     14                MR. BARNES:      Logic and accuracy testing is a county

     15    responsibility.      So it is in the hands of the county.

     16                THE COURT:     And do they -- are they relying then on

     17    that 2000 -- January 2020 procedures manual in determining how

     18    to proceed?

     19                MR. BARNES:      To my understanding, yes, Your Honor.

     20                THE COURT:     And this is not something that you have

     21    given directions to anyone about in the field, I gather?

     22                MR. BARNES:      That would be correct.

     23                THE COURT:     And do you have any idea whatsoever why

     24    there was an impression that it was a database that is going to

     25    be distributed rather than software in the communication?

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      1                 MR. BARNES:     Your Honor, I do not know why they chose

      2    the word database for distribution.            It was always that

      3    application install -- an application upgrade installation.

      4                 MR. MILLER:     Your Honor, I believe we can speak to a

      5    little bit of clarity on that in that the form that you saw

      6    attached to the email that, I believe, Mr. Brown filed is a

      7    standard form that is used when databases are delivered to say,

      8    here is the schedule, here is where we're coming through.

      9                 And so that form didn't change because it was the

     10    same type of run.       So it is the same type of thing that the

     11    counties are used to doing and that the investigators and

     12    liaisons sent out.       And, you know, frankly, I think it may have

     13    been a bit of a misunderstanding amongst the county liaisons

     14    who were the direct contact as to what was being delivered but

     15    they knew something was being delivered on this schedule.

     16                 THE COURT:     I would like to just take a short break

     17    so I can talk to Ms. Cole privately, and then -- then we'll

     18    resume.

     19                 MR. RUSSO:     Your Honor, could we let Mr. Barnes go

     20    or --

     21                 THE COURT:     Let him stay for just a minute.          I won't

     22    keep him much more.        Thank you.

     23                        (A brief break was taken at 11:00 A.M.)

     24                 THE COURT:     Mr. Brown, Mr. Miller?        Let me just say

     25    to counsel -- and I realize this is not Mr. Barnes' direct

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      1    responsibility.       But he also described the process as he

      2    envisioned it at least and testified.            So that has some value.

      3                 At the very least -- and I would say perhaps more

      4    than that -- the procedure that was identified on the January

      5    memo is susceptible to a very different interpretation or

      6    multiple interpretations.

      7                 And given the importance of the software -- the L&A

      8    testing, I can't tell you that you are mandated, but I think

      9    you would be really behooved -- it would strongly behoove the

     10    State in the interest of everyone involved here that there be

     11    clarification of what the process is.

     12                 You are using -- even though it has been identified

     13    as a de minimis change, even if it hadn't been a change, it

     14    would have been important for there to be -- in this first use

     15    statewide in a major election to have this strong L&A testing.

     16                 And even if it is construed the way Mr. Barnes says

     17    with the effect of it after you get to position four you are

     18    going to have fewer tests, you will still have a lot of tests.

     19    But, you know, it would have been -- it would be a better thing

     20    to have a different process for dealing with this wrinkle.

     21                 But even so, I don't think that -- from what the

     22    evidence was in the record that it is -- that the L&A testing

     23    is being pursued in the way that -- the more pristine manner

     24    described by Mr. Barnes.         And maybe it is in some places, but

     25    in many places it is not.

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      1                 So, you know, to the extent that, you know, it is

      2    still in process, which it definitely is -- it is just

      3    beginning -- I would really encourage the State to think about

      4    providing clearer directions, you know, thinking about

      5    having -- not just relying on a written one but having some

      6    sort of video conference to discuss it.             And maybe you-all feel

      7    like it is not necessary and that is -- but I think the

      8    evidence might point to the contrary and --

      9                 MR. MILLER:     Your Honor, I would want to say that,

     10    you know, the memorandum that Mr. Barnes drafted that was

     11    distributed by the elections director, that is not in a vacuum.

     12    They conduct monthly webinars.           They send various instructions

     13    through Firefly.       And those kind of things just haven't come

     14    into evidence in this case because it, frankly, wasn't at that

     15    point as much of a disputed issue.

     16                 We, frankly, thought we were talking about malware on

     17    ballot-marking devices.         But suffice it to say, Your Honor,

     18    that there is a significant amount of additional kind of

     19    guidance and instructive material to the county superintendents

     20    throughout the election process through webinars and things of

     21    that nature.

     22                 THE COURT:     Well --

     23                 MR. MILLER:     And it touches on this and other issues.

     24    And, again, I could go into things that, frankly, are

     25    definitely not an issue in this case as to candidate

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      1    qualification challenges, things of that nature.

      2                 THE COURT:     I think that this case deals with a

      3    variety of things that relate to the machine translating the

      4    vote cast by the citizen that walks into the booth or cast in a

      5    different way.      So I'm just -- that is -- I'm just making these

      6    comments.

      7                 I encourage you because of the way the evidence came

      8    in and what it shows.        I'm not saying -- I'm not in any way

      9    obviously in a position to say that you -- Mr. Miller, that the

     10    individual messages haven't gone out.

     11                 But the -- I still have the testimony in front of me.

     12    I have the January procedures, which are the official

     13    procedures from the Secretary of State about doing this --

     14    preparing for an election that were in front of me.                And then I

     15    have voters as well as others who were on the board -- on the

     16    boards' affidavits.        So that is what I'm relying on in just

     17    mentioning it to you.        But, you know --

     18                 MR. MILLER:     I understand, Your Honor.         I'm not

     19    trying to add additional evidence now.

     20                 THE COURT:     I'm talking about the long run here.            My

     21    interest is not -- you know, even though it is described as I'm

     22    interfering, my interest is in seeing that the voting system

     23    works and the voters' votes are counted and that there are no

     24    screwups on elections that end up having you back in court.

     25    That is -- and to deal with the case in front of me and to deal

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      1    with it in an honest and straightforward way.

      2                 And I wouldn't be having this conference otherwise so

      3    I can really understand what is going on.             And --

      4                 MR. MILLER:     We understand.

      5                 THE COURT:     So this is a change.        So that is what I'm

      6    dealing with.

      7                 I still would -- as soon as you do have the --

      8    whatever the submission is from Pro V&V, I would like it to be

      9    submitted on the record so that we have it.              And the same

     10    thing -- and what the submission is to the EAC.

     11                 And if there is any further clarification that is

     12    provided on L&A testing, I would like to be notified of that.

     13    Because right now I have -- I mean, this is exactly what I'm

     14    dealing with.      I have to issue an order, and I don't want my

     15    order to be inaccurate in any respect factually.

     16                 You may contest the conclusions.           But I don't want it

     17    to be inaccurate.       And we have all worked really long enough to

     18    know that is a concern always.

     19                 All right.     Now --

     20                 MR. MILLER:     Yes, Your Honor.       I apologize.     And I do

     21    just to -- as we started off today, I do just want to reiterate

     22    that we are appreciative of that and your attention to this.

     23    And, frankly, the Secretary has the same goal of ensuring that

     24    the election can go forward in the most efficient and effective

     25    manner.

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      1                 And, Your Honor, we are appreciative and will remain

      2    responsive to the Court's requests.            But it is truly a -- you

      3    know, we are at crunch time.          And our local election officials

      4    are trying to administer elections while they are performing

      5    inspections for the Coalition plaintiffs.             Our State election

      6    officials are trying to help out.           And in practical

      7    realities -- and I understand the Court did not intend -- and

      8    we did not intend to have a negative tone towards the Court.

      9                 THE COURT:     All right.     We'll look at -- when

     10    Ms. Welch gets her transcript out, I'll determine if there are

     11    any -- what portions of the video could be made available on

     12    the public docket.

     13                 I don't want to get myself in another problem with

     14    not having a hearing being in public that should be.                And

     15    that's really again -- and there might be nothing here that is

     16    confidential.

     17                 But you are welcome to send me, just having

     18    participated in this, any of your position about this and about

     19    what portion should be in the public or if all of it can be in

     20    the public.

     21                 If you are going to do that, just simply so I can

     22    proceed on a timely basis, I would appreciate your letting me

     23    know -- let's see.       It is 11:00 today.        If you could let us

     24    know by 4:00.

     25                 MR. RUSSO:     Your Honor, are we going to get a copy --

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      1    how do we go about doing that?           Do we get a copy of the video?

      2                 I mean, I do think probably Dr. Coomer's testimony is

      3    something that may not need to be public.             However, I just want

      4    to make sure we understand the process here.              We review the

      5    video and send something to you or just --

      6                 THE COURT:     Well, I think at this point I'm not sure

      7    we're going to be able to -- I have to find out from IT.                 If we

      8    have the video, we'll give it to you.            And if not, you're going

      9    to have to just simply go by your recollection -- your joint

     10    recollection --

     11                 MR. RUSSO:     Okay.

     12                 THE COURT:     -- of counsel there.

     13                 MR. RUSSO:     You say by 4:00 today?

     14                 THE COURT:     By 4:00.     But I'll let you -- we'll let

     15    you know right away whether we can get you a video.

     16                 MR. RUSSO:     Okay.    I didn't know how that -- I have

     17    never had a recording.

     18                 THE COURT:     It is either yes or no that we can do it.

     19    All right.

     20                 MR. CROSS:     Your Honor, could I ask just -- because

     21    it is something that may be breaking, we have heard a lot of

     22    new information today.        Could we just have Dr. Halderman just

     23    briefly respond to a couple of points?             Because it sounds like

     24    this is stuff you are considering for Your Honor's order.

     25                 THE COURT:     All right.     But I would like to release

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      1    Mr. Barnes so that he can go back to work, unless you have an

      2    objection.

      3                 MR. CROSS:     No.

      4                 MR. BROWN:     No objection.

      5                 THE COURT:     All right.     Mr. Barnes, you are -- you

      6    can go on with life.

      7                 MR. BARNES:     Thank you, Your Honor.

      8                 THE COURT:     All right.     Thank you very much.

      9                 Go ahead.

     10                 MR. MILLER:     Your Honor, before Dr. Halderman begins,

     11    because I don't want to interrupt, we just do want to state our

     12    objection on the record to the continued expansion of the

     13    evidence at issue.

     14                 THE COURT:     Well, I think that to the extent that he

     15    has something useful that helps me understand what has been

     16    said, I think the plaintiffs have an opportunity to --

     17                 MR. RUSSO:     It may be -- you know, to the extent that

     18    Dr. Coomer needs to listen to this -- and I don't know --

     19                 THE COURT:     You can show -- you are welcome to try to

     20    reach Dr. Coomer.       But it seemed like he had a conflict.

     21                 MR. RUSSO:     I guess I could show him the video maybe.

     22                 THE COURT:     Or you could get Ms. Welch --

     23                 MR. RUSSO:     And he could respond to any --

     24                 THE COURT:     You could see if you could get her to

     25    give you just his portion of the testimony.

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      1                 MR. RUSSO:     Okay.    I just want to make sure we get to

      2    respond since there was a disputed issue earlier between the

      3    two.

      4                 THE COURT:     Ms. Welch, are you able just to -- just

      5    produce Mr. Halderman's -- we don't know how long it is.                 But

      6    let's say it is 20 minutes.          Are you able to do that -- turn

      7    that around fairly quickly?

      8                 COURT REPORTER:       I can turn it all around very

      9    quickly, Judge.       Whatever they ask of me, I do.

     10                        (There was a brief pause in the proceedings.)

     11                 THE COURT:     All right.     We'll get it to you one way

     12    or the other.      Very good.

     13                 Can we unmute Dr. Halderman?

     14                 DR. HALDERMAN:      Hello.    Can you hear me, Your Honor?

     15                 THE COURT:     Yes.

     16                 Mr. Cross, did you want to structure this and give

     17    him some questions?

     18                 MR. CROSS:     Yeah.    I mean, I think he's been

     19    listening.

     20                 Probably the easiest way is:          Dr. Halderman, it

     21    sounds like there are a few points that you had to respond to.

     22    Go ahead.

     23                 DR. HALDERMAN:      Yes, of course.      And however I can be

     24    helpful to the Court in this manner.

     25                 First, just to respond to the point that Dr. Coomer

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      1    made about my suggestion in my most recent affidavit that

      2    procedural remedies could cure this problem, I think his

      3    response seems to indicate that the problem that we're

      4    attempting to or the State is attempting to fix here is a

      5    complex one, that it is possible to reproduce it but

      6    reproducing it reliably, he testified, requires operating with

      7    a simpler version of the ballot.

      8                 And that just gives me further concern about whether

      9    the software fix can be adequately tested given the time that

     10    is available.

     11                 Now, beyond that, I would like to reiterate the

     12    substance of the security concerns that I have.               We have to be

     13    clear that even if the change to the source code is a small

     14    one, as Dominion says it is, the process of updating this

     15    software requires replacing completely the core of the Dominion

     16    software on every BMD.

     17                 We know that because the update instructions are to

     18    uninstall the APK, that is, the package that contains almost

     19    all of the Dominion software that runs on the ballot-marking

     20    device, and install a new APK, a new copy of all of that

     21    software.

     22                 So this is, frankly, quite alarming from a security

     23    perspective.      Replacing the BMD software at this juncture so

     24    close to the election is an ideal opportunity for attackers who

     25    might want to infiltrate the machines.

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      1                 If attackers have gained access to Dominion's

      2    systems, to Pro V&V's systems, to the CES systems, or to the

      3    county systems that are going to be creating and distributing

      4    this software change, that would be an opportunity for the

      5    attackers to subvert the software that runs on election day.

      6    And, frankly, none of the procedures I have heard described

      7    here today would be adequate to stop that.

      8                 So beyond the security questions, the change at this

      9    point seriously concerns me from an accuracy and correctness

     10    standpoint.      As I said, the software change is fixing a problem

     11    that is complex to reproduce.          It is difficult to test to

     12    ensure that the fix actually does correct that problem and

     13    that -- and it is virtually impossible at this last minute to

     14    thoroughly test that it doesn't create new problems.

     15                 So quite often last-minute changes to complex systems

     16    do create other unknown consequences.            And while the previous

     17    version of the BMD software at least had been tested through

     18    use in elections, as Dr. Coomer testified millions of voters in

     19    aggregate, this new software has only existed for a matter of

     20    days.

     21                 I myself personally have spent more time testing the

     22    old version of the software than anyone has spent testing the

     23    new version of the software because it has only existed for

     24    such a short time.

     25                 Pro V&V hasn't even had an opportunity to write up

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      1    its findings.      Those finding have not been reviewed by EAC,

      2    which has introduced this de minimis testing categorization for

      3    emergency fixes in small -- that are small in nature.                But the

      4    State isn't even following that -- that special case process

      5    that has been put in place by EAC.            It seems that that process

      6    itself is being circumvented.          It just seems quite extreme

      7    in -- under these circumstances to forgo even that level of

      8    compliance.

      9                 I wanted to just briefly address the L&A procedures

     10    that we heard described.         I think two key points about that are

     11    that the L&A testing we have heard about would be trivial for

     12    malware to detect and bypass.          It has a very clear signature

     13    that the BMD can see, that ballots are being printed, that are

     14    being marked in the same position across every race.

     15                 It would be absolutely simple if you were programming

     16    malware for the BMDs to have it avoid cheating on ballots that

     17    are marked in the same position across each race.

     18                 So the security value of this L&A testing is minimal.

     19    And we have also heard -- and I think this point came out

     20    clearly for the first time today -- that the L&A testing isn't

     21    even checking to make sure that each BMD correctly produces a

     22    ballot for each -- for the entire set of candidates in every

     23    race.

     24                 You don't have to test necessarily every permutation

     25    of candidates in order to check that.            But the least that I

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      1    would expect from an L&A procedure would be that it checks that

      2    each BMD can correctly mark a ballot for each candidate.

      3                 And as we have heard today, because of the length of

      4    the Senate race, many BMDs apparently will not even be tested

      5    to make sure that they can print a ballot that is marked for

      6    each candidate in the presidential race.             And that concerns me

      7    because a particular BMD might have a corrupted somehow copy of

      8    the database -- of the programming that goes into it.

      9                 And the L&A procedures, as described, because they

     10    don't involve printing a ballot from each BMD that has been

     11    marked for every candidate, wouldn't be able to pick up that

     12    problem.     You have to actually test that each candidate has

     13    been marked and can be tabulated correctly.

     14                 THE COURT:     Wait a second.

     15                 DR. HALDERMAN:      Apparently someone is sawing on the

     16    outside of my building, and I may have to quickly move to

     17    another room.

     18                 But I think I have addressed the points that I had in

     19    mind.    But I'm very happy to answer any questions.

     20                 MR. CROSS:     Dr. Halderman, just a couple of follow-up

     21    questions.     And the Court may have questions or Mr. Russo.

     22                 In your experience looking at elections over the

     23    years, is there any election that comes to mind where a state

     24    was replacing the software with new software less than two

     25    weeks before the --

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      1                 DR. HALDERMAN:      No, nothing comes to mind.         This

      2    is -- this is not a typical procedure to be going through.                  In

      3    an emergency, perhaps you would need to.             But even then, it

      4    would be an extremely risky thing to be doing both from a

      5    correctness standpoint and from a security standpoint.

      6                 MR. CROSS:     And just two final questions.          Are there

      7    real world examples you have seen where a software change that

      8    even had been fully vetted and was intended to fix one discrete

      9    problem that that then had unintended consequences that were

     10    quite significant?

     11                 DR. HALDERMAN:      Well, the most significant recent

     12    example, of course, is the 737 MAX aircraft where after most of

     13    the testing had been completed Boeing introduced what they

     14    believed was a relatively small design change to the control

     15    system that they didn't believe needed to be rigorously tested

     16    because it was the equivalent of de minimis.

     17                 But that unfortunately reportedly had fatal

     18    consequences and has been tied to crashes that have killed

     19    several hundred people.         But I think that is an illustration.

     20    I think it is a good parallel because both the Georgia election

     21    system and the aircraft are examples of complex software

     22    systems.

     23                 Georgia's election system is millions of lines of

     24    source code that are in the Dominion products.               And for that

     25    reason, small, even seemingly trivial changes can have

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      1    consequences that are difficult to understand.

      2                 It is just -- it is why we normally in the voting

      3    system testing and certification process demand such extended

      4    testing for accuracy.        That kind of testing can't necessarily

      5    rule out security problems.          But it does a lot to help ensure

      6    that votes are going to be counted correctly in the absence of

      7    an attacker.

      8                 And it is those processes that are being bypassed

      9    here and substituted with apparently less than a week of -- of

     10    very rapid-fire testing of some sort.            Nothing like the testing

     11    that goes into a voting system in the course of a normal

     12    software change.

     13                 MR. CROSS:     Last question, Dr. Halderman.          You

     14    mentioned that the LAT, the logic and accuracy testing --

     15                         (There was a brief pause in the proceedings.)

     16                 MR. CROSS:     Dr. Halderman, you said that there is a

     17    clear signature of testing under this L&A process.                For

     18    example, the candidates are selected in the same position.

     19                 DR. HALDERMAN:      Yes.

     20                 THE COURT:     Does anyone have somebody speaking in the

     21    background?

     22                         (There was a brief pause in the proceedings.)

     23                 MR. CROSS:     It seems like it got quieter.          Is this

     24    better?

     25                 Okay.    Let me try it again.

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      1                 Dr. Halderman, the question was:           You said that there

      2    is a clear signature for the machine to see that it is being

      3    tested during the logic and accuracy testing.              One example, of

      4    course, is all the candidates are in the same position; right?

      5    They are all selected in Position 3.

      6                 Just to show the Court this is not a hypothetical

      7    concern, that the malware can trick the machine during testing,

      8    is there a real world example of where that has happened?

      9                 DR. HALDERMAN:      Of where malware would -- of malware

     10    detecting such a thing?

     11                 MR. CROSS:     Yes.    Testing and then --

     12                 DR. HALDERMAN:      Detecting testing.       Well, of course,

     13    the prominent example of that is the BMW -- excuse me -- the

     14    Volkswagen emissions testing scandal, Dieselgate scandal, where

     15    Volkswagen programmed its emission systems to detect -- they

     16    were going through EPA testing and emit less pollutants under

     17    those circumstances.

     18                 So the parallel here is detect that the ballot has

     19    been marked in the same position across all races and in that

     20    case don't cheat; otherwise, cheat with some probability.                 That

     21    would be -- for malware running on a BMD, that would be

     22    absolutely a simple thing to program.

     23                 MR. CROSS:     Thank you, Your Honor.

     24                 THE COURT:     Let me just make sure I understand from

     25    your perspective what this meant in terms of the testing

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      1    that -- in terms of the printing of ballots.              Any time -- any

      2    ballots -- let's say that there were -- because we were using

      3    the example previously of four, that there would not be ballots

      4    printed with -- that would reflect any other ballot choices as

      5    you -- as they -- for any of the -- any of the times where

      6    people had cast ballots for candidates five and onward.

      7                 DR. HALDERMAN:      Yes, Your Honor.       My understanding of

      8    the testimony we heard today is that one BMD would be used to

      9    print a ballot marked in the first position across every race,

     10    another the second position, another the third position, et

     11    cetera and that races that had fewer than that number of

     12    positions the race would just be left blank on the BMD that was

     13    being tested.

     14                 So each BMD produces one printout that is marked in

     15    one equivalent position across every race.              And that, of

     16    course, has the problem that for a given BMD most of the

     17    possible positions that could be marked are not going to be

     18    exercised all the way through being printed and being

     19    tabulated.

     20                 So if a particular BMD has a database that is somehow

     21    corrupted and programmed differently from the other BMDs under

     22    testing, the problem would not be discovered.

     23                 THE COURT:     All right.     Anything else, Counsel?

     24                 MR. CROSS:     Not for us, Your Honor.        This is David

     25    Cross.    If they want to ask questions, they are welcome to.

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      1                 MR. RUSSO:     Your Honor, I don't think we have any

      2    questions.

      3                 THE COURT:     All right.     Well, thank you-all very

      4    much.

      5                 MR. CROSS:     Your Honor, I'm sorry.        There was one

      6    final thing that we wanted to clear up if we could.                Mr. Brown

      7    sent an email in this morning.           I don't know if you saw it.

      8                 THE COURT:     No, I did not.

      9                 MR. CROSS:     We're just trying to confirm -- Mr. Tyson

     10    sent in an email indicating that there was a message that went

     11    out from Mr. Harvey clarifying that there were no new databases

     12    coming out as opposed to a software change.              He indicated that

     13    message went to the counties on Tuesday.             The copies that we

     14    have -- we have multiple copies from the counties -- indicated

     15    it went yesterday around the same time of Mr. Tyson's email.

     16                 Vincent or Carey, do you know when that actually went

     17    out to the counties?

     18                 MR. RUSSO:     I mean, I believe that it is -- so we

     19    looked at it earlier -- what Bruce sent.             Buzz is a webface.

     20    It is a web portal.        So I think Mr. Harvey posted it on Buzz in

     21    accordance with what Mr. Tyson represented.              And the email went

     22    out the following day due to however Buzz, the program,

     23    populates the email that automatically goes out.

     24                 MR. CROSS:     Okay.    Thank you.

     25                 That is all, Your Honor.         Thank you.

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      1                 THE COURT:     All right.     Thank you very much.        And

      2    we'll be -- we'll be in touch.           I mean, I'm trying to get an

      3    order out this week.        So I appreciate everyone scurrying to get

      4    this in front of me.

      5                 MR. CROSS:     Thank you, Your Honor.

      6                 MR. RUSSO:     Thank you, Your Honor.

      7                        (The proceedings were thereby concluded at

      8                        11:32 A.M.)

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      6           I, SHANNON R. WELCH, RMR, CRR, Official Court Reporter of

      7    the United States District Court, for the Northern District of

      8    Georgia, Atlanta Division, do hereby certify that the foregoing

      9    76 pages constitute a true transcript of proceedings had before

     10    the said Court, held in the City of Atlanta, Georgia, in the

     11    matter therein stated.

     12           In testimony whereof, I hereunto set my hand on this, the

     13    1st day of October, 2020.

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     17                             ________________________________
                                    SHANNON R. WELCH, RMR, CRR
     18                             OFFICIAL COURT REPORTER
                                    UNITED STATES DISTRICT COURT
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